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              What about the FTX tokenized AMC shares? Did you address those? How
              did your son who was an FTX investor not know about these??


              @CEOAdam
              what about ANY AMC tokenized security and NOT just the one you
              mention? Did you intentionally do this? Or, didn t know about it and the
              COO did it with his daughter without your approval?

              Here you are fighting a token, while the owners of AMC are getting
              fleeced of their shares. Good job.


              Of course he ll tweet about this and fight . But not a word or any action
              against the corruption used to manipulate the stock price down.


 363. AMC stockholders have yet to receive notice regarding what actions Aron meant or has
     taken in the fight, as he mentioned, "We are fighting them hard. Don’t be fooled!" The specific
     details of this fight or the measures implemented by Aron remain undisclosed to the
     stockholders.


 364. By April 2022, Derek Van Zandt had a "storyboard draft," which included a video of Aron
     explaining the potential Preferred Equity Units (APE) rights offering. At the time NFTs were
     a hot commodity. To entice AMC stockholders to participate, Derek Van Zandt incorporated
     three different NFTs (Gold, Platinum, and Black) exclusively available to participants in the
     rights offering, with variations based on the number of Preferred Equity Units purchased. 133


 365. On May 4th, 2022, the AMC Board met, and Aron “briefed the board on AMC’s preferred
     stock right’s offering plans during executive session. The Board minutes do not reflect any
     specifics concerning Aron’s briefing. 134


 366. On May 6th, 2022, at 1:12 pm EST, Ms. Blackwood tweeted out the following message to
     AMC Theatres and Aron,



                      @CEOAdam
                     @AMCTheatres



  133 Link: https://www.docketalarm.com/cases/Delaware State Court of Chancery/2023-
 O215/1N_RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
 42/ Exhibit 34 pages 887-912
 134 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
 (Del. Ch.) case. See paragraph 90.
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                      sry to break it u but adam is too busy with a fist up his a$$
                    (literally) to care abt the investors that saved this company
                    $AMC 135




  367. On May 17th, 2022, at 8:31 pm, Geoffrey Weinberg drafted an email with the subject matter
     titled: RE: AMC- Preferred Issuance, and addressed the email to AMC s two in house
     attorneys, Kevin Connor and Eddie Gladbach, while cc ing outside atto eys, Mercedez Taitt-
     Harmon, Corey Chivers and Michael Stein, and his colleague at DE King, Krystal Scrudato.136


  368. Geoffrey Weinberg s May 17th, 2022 email reads:


            Kevin -


           As discussed, for the preferred structure to be successful, the votes cast must
           be at least 50% + 1 FOR. This is effectively a majority of votes cast standard
           and a much lower threshold than our previous voting standard of majority of
           shares outstanding where we required FOR votes from 50% + 1 of the entire
           shareholder base, not just those that actually vote. From there, the question
           becomes the likelihood that we would receive support from a majority of votes
           cast.
           Due to (i) the fact that institutional shareholders do not like to vote until just
           prior to the meeting and (ii) that both previous votes were pulled at least a week
           prior the meeting, our analysis is focused on (a) the vote up until the day that the
           proposal was withdrawn, (b) certain assumptions for how the routine vote (as
           discussed below) would have been applied, and (c) how the shareholder base has
           changed since last year.
           Based upon last year s voting, incorporating the estimated routine vote that
           would have been applied, the votes cast would have been 56% FOR prior to
           the institutions voting, with a ~31.5mn vote difference between FOR and
           against. Based upon certain assumptions of what institutional shares would have
           been voted after the proposal was withdrawn, taking a conservative approach,
           an additional lOMn FOR votes would have been added, increasing the FOR %
           to 57.7% and the vote difference to 41,5mn shares.




  135 Sakoya Blackwood on X (formerly called twitter). May 6th, 2022. X.com
    Link: https://twitter.com/TwoTi thl/status/1522625473196478469
  136 Link: https.7/www.docketalarm.com cases/Delaware State Court of Chancery/2023-
  0215/IN RE AMC_ ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
 42/ Exhibit 20 pages 830-831
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        We start with an advantage in achieving a majority of votes FOR as NYSE
        should consider this proposal a routine proposal - this means that brokers that
        still maintain their discretionary voting authority will apply that voting authority
        to vote their customers uninstructed accounts.
        These vote in two different ways:
         • Discretionary voting - where brokers will vote any uninstructed shares with
         management s recommendations; ~64mn shares as of the latest available data,
         of which we would anticipate splitting 53mn FOR / 1 Imn against based upon
         previous voting patte s.
         • Proportionate voting - where brokers will vote any uninstructed shares in the
         same proportion that their instructed shares were voted (e.g., Broker X has lOmn
         customers’ shares, 2mn vote, Imn of the 2mn that vote, vote FOR - the
         remaining 8mn uninstructed shares are voted 50 / 50 FOR and against);
        ~103.5mn shares as of the latest available data, of which we would anticipate
         splitting 27.4mn FOR / 76.Imn against based upon previous voting patterns.
         Since the July 2021 vote, the shareholder base has changed as follows:
         • Institutional custodial holdings have increased by ~27.4mn shares; these tend
         to vote in favor of the proposal and participate as well (net positive)
         • Discretionary custodial holdings have decreased by 14.2mn shares; we will no
         longer automatically receive those positive votes at an 80%+ rate (net negative)
         • Proportionate custodial holdings at NFS (Fidelity) have increased by ~24mn
         shares; these new shares will be voted proportionately to how the rest of NFS’
         instructed shares vote. Last year these groups of shares voted 29% FOR (net
         negative)
         • Friendlier partner custodial holdings (e.g., Goldman, MLPS, etc.) decreased by
         ~12.5mn shares, those custodians proportionate overwhelmingly in favor of the
         proposal last year (net negative)
         Based upon certain assumptions, including the likely number of shares actually
         voted by the index funds due to stock loan, we would expect approximately with
         the same retail voting FOR rate of 28.06% and retail participation of 27%
         (compared to 25.11% at the time the July proposal was withdrawn), before
         applying any additional institutional votes outside of the index funds, Geode and
         Northern Trust, there would be a voting spread in favor of the proposal of ~5mn
         shares with the votes cast split at 51.11% FOR & 48.89% against. This provides
         a 44% quorum as compared to a -53% quorum at the July meeting, implying
         another 47mn shares unaccounted for largely negated by the combined ~36.5mn
         shares that will not automatically be voted via decreases at discretionary and
         proportionate voting custodians.
         As can be seen in the movement referenced above, especially at NFS, this
         analysis is based upon a moving target due to the volume and volatility of the
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           shareholder base. With certain assumptions I believe that the unaccounted-for
           shares referenced above would more likely than not be favorable shares through
           hedge funds and institutions, and when combined with certain campaign
           strategies that would be altered to account for the lower voting threshold, this
           campaign would ultimately be successful. At the same time, it is worth noting
           that at the original May meeting, using a combined average of the top retail
           custodians (TD, NFS, Robinhood, Schwab and Apex) as a proxy for the retail
           vote, retail voted FOR at 33.5%. At the July meeting, this same group voted
           FOR at 28.06%. Based on the high-level analysis mentioned, if the retail FOR
           vote moves to 26.5% or below, the initial ~5mn share advantage disappears.
           If helpful, attaching the latest ownership report based upon the 13F data that
           came due this week.


                                 Let me know (sic) any questions. Happy to discuss.
                                                           Thanks,
                                                           Geoff 137


  369. From the perspective of DF King and AMC, as outlined in the May 17th, 2021 Weinberg
     email, "for the preferred structure to be successful" would involve the conversion of APE back
     into AMC even before APE was distributed to stockholders. Notably absent from the email is
     any mention of a strategy to raise capital effectively or to address debt repayment.


  370. Notwithstanding Aron s rosy public statements about AMC s financial outlook, by no later
     than mid-May 2022, AMC s executives were exploring giving APEs special voting powers
     that could be maneuvered so management could force amendment of its Certificate.


  371. On May 19th, 2022, at 6:04 pm, Kevin Connor, drafted an email with the subject titled:
     AMC- Preferred Issuance, and cc’d Adam Aron and Eddie Gladbach, and emailed John
     Merriwether and Sean Goodman stating,


            Sean / John (and copying Adam),

          Further to my note to you on May 9 and per the below we continue to explore
          with Weil/DF King a unique dividend structure that might allow us to
          authorize ore common stock (redacted information). Since I sent my prior
          note, we have checked with DE counsel and (redacted information). We also
          checked with the NYSE and to my surprise the have no objection. The
          tricky part now is determining whether if we implemented something similar to

  137 Link: https://www.docketalami.com/cases/Delaware State Court of Chancery/2023-
 0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
 42/ Exhibit 20 pages 830-831
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           effect share authorization - would the vote carry? Per the below, Geoff at DF
           King has indicated he thinks the campaign would pass. I am going to set up a
           call for Sean, John, Eddie and I to speak with Geoff to hear Geoff s thoughts.
           We will challenge his assumptions a bit and get back to Adam as appropriate.
           Per Adam s note, not spending a lot of legal on this and Geoff is free. Sensitive
           to Adam s concerns that the stockholder base might react negativity and that it
           might collide with our CSE offering. Balancing that sentiment against the
           prospect of authorizing and selling some shares at $10+/share late sunu er.
           Thanks and call or write with questions or comments.



                                                      Kevin 8166992542 138


  372. Kevin Connor's May 19th, 2022 email, proves that the purpose of the "unique dividend
     structure" as aimed at facilitating the issuance of more common stock, rather than
     focusin on debt repayment or restructurin .


  373. On May 25th, 2022 Brian messaged Aron, Jou alists reaching out to me now! 139


  374. On May 25th-26th, 2022, AMC's advisor, B Riley Financial, hosted their 22nd Annual
     Institutional Investor Conference in Beverly Hills, Califo ia, and both John Merriwether and
     Sean Goodman attended the event.


  375. Two days later, on May 27th, 2022, at 1:40 pm, Jon Merriman from B. Riley Financial,
     drafted an email with the subject titled: super voting pref, and cc’d his colleagues Patrice
     McNicoll and Layne Rissolo, and his atto eys at Duane Moms, Dean Colucci and James
     Seery, and emailed John Merriwether and Sean Goodman stating,


           “Sean, John - great to see you guys this week - thank you so much for coming
           to our event. Sean I hope you didn’t have equal drama on the way home - what
           a story! Suggest we get on a call with the lawyers next week and talk on this
           structure. Then you and your team can et with the NYSE and see if this
           could work for AMC. In the meantime Layne would you please send the
           Nasdaq precedents. Copied our counsel at DM (Duane Moms) who has helped
           us here. Suggest Tuesday at 10EST to start.

           Great weekend everyone!


  138 Link: https://www.docketalarm.com/cases/Delaware State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS _INC STOCKHOLDER LITIGATION 18026
  42/ Exhibit 20 pages 829-830
  139 Sakoya Blackwood’s Sentencing Memorandum
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                                                 Jon Memman 140



  376. Approximately four hours later, at 5:58 pm, Jon Memman drafted another email with the
     same subject title: super voting pref, and cc d his colleagues Patrice McNicoll and Layne
     Rissolo, and his attorneys at Duane Morris, Dean Colucci and James Seery, and emailed John
     Merriwether and Sean Goodman stating,


                                     Weekend reading - talk soon


                                                  Jon Merriman 141


  377. Attached to Jon Meniman s 5:58 pm email were prospectuses from the three issuers listed
     on Nasdaq that utilized super voting preferred shares to force through certificate amendments.
     The issuers were:


                           • Agile Therapeutics Inc (ticker symbol AGRX)
                           • Avinger Inc (ticker symbol AVGR)
                           • OpGen Inc (ticker symbol OPGN)

  378. Jon Merriman s May 27th, 2022, 1:40 pm and 5:58 pm email thread, is one of the most
     inculpating emails. Jon Merriman gives John Merriwether and Sean Goodman notice that his
     firm and his attorneys have already set precedent for three stocks listed on Nasdaq, with ticker
     symbols AGRX, AVGR, and OPGN. Since AMC is listed on the NYSE and no precedent has
     been set on the NYSE, Jon Memman suggests to John Merriwether and Sean Goodman that
      we get on a call with the lawyers next week and talk on this structure then you and
     your team can et with the NYSE and see if this could work for AMC.


 379. The decline in value experienced by AGRX, AVGR, and OPGN from the release of the
     preferred shares until November 2023, exceeding 90%, is significant. Even when comparing
     the period from the launch of the preferred shares until Jon Merriman's May 27th, 2022 notice
     email to John Merriwether and Sean Goodman, the stocks' values of AGRX, AVGR, and
     OPGN all plummeted by over 50% and continued on a downward spiral. The actions taken on
     these tickers, including the implementation of a convertible preferred stock and multiple
     reverse splits, ultimately destroyed shareholder value.



 140 Link: https://www.docketalarm.com/cases/Delaware_ State_Court of Chancery/2023-
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 42/ Exhibit 19 page 827
 141 Link: https://www.docketalarm.com/cases/Delaware State Court of Chancery/2023-
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 42/ Exhibit 19 page 827
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  380. Jon Merriman's May 27th, 2022, 5:58 pm email is also direct evidence that AMC and Riley
     Financial were engaged in ongoing discussions and were aware in advance that moving
     forward with the AMC preferred share (and reverse split) scheme would result in a significant
     and detrimental impact on stockholder value. Given the similarities in the massive loss of
     stockholder value between the stock tickers OPGN, AGRX, AVGR, and AMC, it is clear that
     AMC, D.F. King, Riley Financial and Citigroup Global Markets Inc. colluded to run an
     intentional controlled demolition scheme that had been run before (OPGN, AVGR, and
     AGRX) to hurt AMC stockholders stock value.


  381. On May 31st, 2022, at 11:27 pm, Kevin Connor, drafted an email with the subject titled:
     FW: AMC- Preferred Issuance, and cc d Eddie Gladbach, and John Merriwether, and emailed
     Sean Goodman stating,


            Sean,

           Seems like we should get this in front of Adam as discussed at end of call this
           morning. Should we do this on a standalone basis, or in conjunction with an
           update call on CSE? Probably the latter, as it seems like we would do one or the
           other, but perhaps not both. Question then becomes at what point we want to let
           Citi know we are pondering another share authorization vote, including one that
           might displace the CSE. Since B Riley has thoughts about a share authorization
           mechanic I suspect Citi might as well. Will give you a call at your convenience
           today to discuss. Let me know a good time.



                                                        Thanks,

                                                        Kevin 142




  382. Attached to Kevin Connor s May 31st, 2022 email was an excel sheet named Institutional
     Investor Ownership Report AMC_May 17 2022.


  383. On June 15th, 2022, at 6:19 pm EST, Aron tweeted out the following to AMC stockholders
     who have continuously demanded a share count with respect to how many AMC shares are out
     in circulation as opposed to outstanding,




  142 Link: https.7/www.docketalarm.com/cases/Delaware_ State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC._ STOCKHOLDER LITIGATION/918026
  42/ Exhibit 20 page 829
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                        Inbound tweets ask over and over for a “share
                       count. AMC has done a share count 6 times in the
                       past year. We know of 516.8 million AMC shares.
                       Some of you believe the count is much higher. As I ve
                       said before, we ve seen no reliable info on so-called
                       synthetic or fake shares. 143


  384. Following Aron's June 15th, 2022 Tweet, hundreds of AMC shareholders expressed their
     frustration through tweets, highlighting Aron's abject failure to address the crucial question
     regarding the total number of AMC shares in circulation. Several shareholders conveyed their
     concerns and messages emphasizing this issue:


          “Why have you not hired an attorney to look into counterfeit shares and
          short and distort techniques by hed e funds along with the millions of other
          stock manipulation tactics going on? The time to pounce is now before you
          lose the retails trust!


          “VOTE let the share holders vote on if we do a share count or not..


          “Nobody knew Madoff was running a Ponzi scheme right up until he was
          cau ht! It would be interesting to know how you came to the conclusion.
          What investigation was done? Have you really even tried to sniff out the
          fake counterfeit shares?


          "So called"... think it's time for you to stop "saving face" and protect your
          loyal investors.


  385. At the June 16th, 2022 annual meeting of stockholders,144 AMC stockholders resoundingly
     rejected, in a non-binding vote, Aron s compensation package:



             Proposal 3: Non-Binding Advisory Vote on Executive
             Compensation
             Stockholders failed to approve, on a non-binding advisory basis, the
             compensation paid to our named executive officers.




 143 CEO Adam Aron on X (formerly called twitter). June 15th, 2022. X.com
   Link: https://twitter.eom/CEOAdam/status/l 537198182098251777
 144 SEC Form 8-K. AMC. June 17, 2022. Link:
 https://www.sec.gov/Archives/edgar/data/1411579/000155837022010100/amc-20220616x8k.htm
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                 For Against Abstain                          Broker Non-Votes
              52,148,743 86,896,550 5,917,972                   123,812,644



  386. On June 21st, 2022, Ms. Blackwood began sending text messages to Aron from another
     VoIP number, pur orting to be a reporter from Vanity Fair (the Vanity Fair Reporter ). The
     Vanity Fair Reporter referenced having seen texts and images ( I was shown some images and
     I was wondering if you re available to speak and I was also shown text conversation with
     the accompanying images and my source claim the woman was underage at the time of the
     initial affair ). 145


  387. On June 24th, 2022, the United States Congress published the GameStop Report.146 The
     January 2021 Meme Stock squeeze and tu ing off of the buy button events prompted the U.S.
     House Committee on Financial Services to hold several hearings to investigate the
     circumstances and implications of these market events. The hearings sought to understand the
     reasons behind these actions and whether hedge funds and brokers disadvantaged retail
     investors to save themselves. There was significant controversy over the decision by
     Robinhood and several other brokers to restrict trading in the volatile stocks at the peak of the
     market frenzy.



  388. According to the congressional findings, there is evidence to suggest that Ken Griffin, the
     CEO of Citadel, lied during his testimony to Congress regarding the GameStop short squeeze.
     During the hearing, Representative Maxine Waters (D-CA) and others questioned Griffin
     about whether Citadel had "any role in the restrictions that Robinhood and other brokers put
     on retail investors." Griffin responded: "Absolutely not. We had no role in Robinhood's
     decision to limit trading in GameStop or any of the other 'meme' stocks." However, it was later
     discovered in internal messages between Robinhood and Citadel that this statement was
     factually inaccurate, and Griffin had, in fact, appeared to have perjured himself.




 145 Sakoya Blackwood s Sentencing Memorandum
 146 The GameStop Report: Game Stopped: How the Meme Stock Market Event Exposed Troubling
 Business Practices, Inadequate Risk Management, and the Need for Regulatory and Legislative Reform .
 Released by the United States House of Representatives Committee on Financial Services,
 Congresswoman Maxine Waters (D-CA), Chairwoman of the Committee on Financial Services, and
 Congressman Al Green (D-TX), Chair of the Subcommittee on Oversight and Investigations. Released
 June 24, 2022. Note: Communications regarding Robinhood and Citadel are presented as figures in the
  GameStop report (see Exhibit E). Link: https://democrats-
  financialservices.house.gov/news/documentsingle.aspx?DocumentID=409578#:~:text=%E2%80%9CThe
 %20GameStop%20report%20is%20the.the0/o20current%20market%20regulatory%20structure
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   The Project Popcorn Scheme Pivots from a Shareholder Rights Offerin (Zero Dilution if
                stockholder exercises their ri hts) to an ATM (Outri ht Dilution)



  389. On July 20th, 2022, Sean Goodman sent a memorandum147 to the Board concerning the
      Preferred Stock and APEs. It details the proposal, and notes for the first time that AMC
      planned to sell APEs in an ATM offering:

               We plan to raise additional equity capital through an At-the-Market offering
             of Preferred Equity Units. The amount and timing will be determined
             based on market conditions and strategic opportunities. We are ready to
              act quickly. 148


  390. In Sean Goodman s Memorandum, he acknowledged that [ijndex funds that own AMC
      common shares will likely be required to sell the Preferred Equity Units, while this may put
      pressure on the value of the Preferred Equity Units, lower index fund ownership also means
      less shares available for short sellers to borrow and this could have an offsetting positive impact
      on the trading value of the Prefened Equity Units.


  391. On July 21st, 2022, at 12:33 pm, John Merriwether drafted an email with the subject titled:
      Citi Questions - PEU ATM, with Kevin Connor and Eddie Gladbach cc d, and the email
      addressed to Sean Goodman stating,


             Gentlemen,
            Derek called me after the call with a few logistical questions regarding the S-3 and ATM
            plans.
                • (first bullet point redacted)



  147 The memorandum is dated July 20th, 2022, but was produced as part of July 25th, 2022 compensation
  committee materials and July 28th, 2022 Board materials. It is unclear whether the Board members saw it
  prior to the respective meetings.

  148 Link: https://www.docketalarm.com/cases/Delaware State _Court_of_Chancerv/2023-
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  42/ Exhibit 35 pages 914-915
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               • There had been some discussions about how many PEU s we
                 would register and IB was discussed (517M for the dividend and
                  then the remainder for the ATM). Are we in agreement that the
                  number is IB? There is a sweet spot somewhere that doesn t
                  raise the shareholders ire about dilution but also ives us the
                  flexibility to raise the capital we want. I think we will get ire
                  no matter what the number is, so does it make sense to get the
                  ire out all at once at IB.


                                                                   Thanks,
                                                                   John 149


  392. John Merriwether s July 21st, 2022 em il depicts that the AMC Board was careful not to
     introduce an excessive number of APEs initially, considering the potential backlash and
     resistance from retail stockholders regarding their strong dilution conce s. This calculated
     approach was designed to manipulate and convince stockholders to accept the poisoned apple"
     they were being offered by their Silverback - Aron.


  393. Sean Goodman contemporaneously replied to John Merriwether s email, with Kevin
     Connor and Eddie Gladbach cc d, stating,


           Thanks John,


          I think IB makes sense. Defer to the lawyers regarding the S-3.

                                                            Sean” 150


  394. Like on January 27th, 2021, Sean Goodman's July 21st, 2022 response email notably lacked
     any attachments, such as an Excel sheet or a document to indicate that any financial analysis
     was performed, providing support or clarification on the rationale behind registering 1 billion
     shares.


  395. On July 22nd, 2022 at 7 pm GST, Aron held a meet-and-greet event at AMC River East 21
     in Chicago, Illinois for a special screening of the movie “NOPE . Before the movie started,



  149 Link: https://www.docketalarm.com/cases/Delaware State Court of Chancery/2023-
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  42/ Exhibit 21 page 833
  150 Link: https://www.docketalarm.com cases/Delaware State Court of Chancery/2023-
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      Aron addressed the AMC stockholders that were sitting in the crowd. Seven minutes into his
      speech, Aron discussed the events of January 27th, 2021. He states in part:


               On the Wednesday January 27th of last year, our stock went from five dollars
              a share to twenty dollars a share in one day. And we traded, on the New York
              Stock Exchange... uh more shares than I know how to count .... uh at the
              time we had 100 million shares outstanding - total share count. And 50
              million of them were in the pocket of one large institutional holder who was
              not trading the stock. So we really only have 50 million shares that traded.
              On that one day that day that our stock quadrupled, that one day, we traded 1
              billion 250 million shares in a day. We only have 50 million shares that traded
              at all, and they turned over like 25 times. That's like every 15 minutes the
              whole shareholder base of the company is a new shareholder base of the
              company. 151


  396. On July 25th, 2022, AMC Board s compensation committee met concerning adjustments
      that would need to be made to equity awards under AMC’s long term incentive plan to account
      for the APEs. The Compensation Committee approved the required adjustments, which
      provided that APEs could be issued under the plan.




               • The Preferred Equity Unit Dividend is expected to have the effect of reducing the economic valu
                  of the shares of AMC s common stock similar to a stock split
                    • For simplicity, assume the reduction In alue Is 50%

               • Each share of com on stock previously veste an issued unde the EIP will automatically
                  recei e one preferred equity unit as part of the dividend

               • Howe er, ithout adjustment, all outstanding un este RSU/PSU awards ill have their
                  potential alue reduced
                    • Each RSU/PSU = 1 share of Co mon Stock upon vesting

              • Exa ple: Participant with 2,000 RSUs & co on stock price of $17.00 (pre-dividend)
                    • Before Divid nd: Potential on Vesting = $34,000 FMV common stock
                    • After Di idend: Potential on Vesting = $17,000 FMV common stoc




  151 Adam Aron Chicago. Youtube Video of Aron s July 22, 2023 Meet and Greet in Chicago. Video posted on
  July 23, 2022. See the 7:36 mark in the video for this quote. Link:
  https://www. youtube. com/watch?v=BHOftbZUh5Y
  Secondary Link on the Mathew Affholter Vs Defendants youtube page:
  https://www.youtube.com/watch?v=usc3V0bSb3 A
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  397. On July 26th, 2022, Brian messaged Aron and said, A pom site just reached out to me
     looking for the ics. 152


  398. On July 27th, 2022, Aron wrote the AMC Board, touting the APEs as


               the single most impactful action that AMC will take in ll of calendar year
              2022, giving AMC a new currency to pay down debt and avoid any future
              liquidity traps. 153


  399. On July 28th, 2022, the full AMC Board took its first steps, in thwarting the AMC
        stockholder franchise, by diluting the Common Stock through an abusive “blank check
        preferred stock issuance via an ATM. At an AMC Board meeting that day,


             “Aron indicated that AMC needed to raise more capital but was out of common
             shares. He mentioned visiting with a 1980 s financier that explained that AMC
             arranging for a second currency could be transformative; even more so than
             issuing a dividend. 154


  400. Aron also “noted that AMC had SOM shares of preferred stock and that by employing a
        100-1 gearing concept Company could issue one preferred equity unit for each of Company s
        517M common shares outstanding. 155


  401. The AMC Board also discussed concerns it had regarding the response of retail investors
        to the proposed dividend, with Pawlus not[ing] that retail shareholders had historically
        expressed concerns about dilution [and]... inquir ng] how Company planned to address those
        conce s. 156



  402. The AMC Board discussed how it could “handl[e] that question with candor including
        through tweets and with social media, recognizing that should Company subsequently pursue
        ATM offerings that those offerings would be dilutive.” 157 Given the Company s public




  152 Sakoya Blackwood’s Sentencing Memorandum
  153 Condensed citation: C.A. 2023-0215-MTZ Daniel Myers Affidavit (D.I. 322) exhibit 22, pages 834-
  837
  154 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 93.
  155 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 94.
  156 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 95.
  157 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 96.
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     descriptions of APEs and the Deposit Agreement, the desire to be candid appears to have
     been more aspirational than actual.


  403. At the meeting, the AMC Board also reviewed an updated presentation prepared by Citi,
     which included an overview of the Preferred Stock and APE dividend. 158


  404. At the end of the meeting, the AMC Board then adopted resolutions implementing the
     Preferred Stock and APEs. 159


  405. The AMC Board created the new form of Preferred Stock and authorized 10,000,000 such
     shares. Each share of Preferred Stock carries voting rights equal to 100 shares of Common
     Stock, and automatically converts into 100 shares of Common Stock upon stockholder
     approval of an amendment to the Certificate to increase the total number of Common Stock
     shares authorized sufficient to permit the conversion and the filing of such an amendment with
     the Office of the Secretary of State of the State of Delaware. 160


  406. The AMC Board also approved a Preferred Stock dividend to be issued on each
     outstanding share of Common Stock in the form of APEs, which were depositary shares, each
     representing a 1/100 interest in a share of Preferred Stock. Each APE has voting rights equal
     to one share of Common Stock and is convertible into one share of Common Stock if
      stockholders approve an increase to the total number of shares of Common Stock authorized
     under the Certificate.”161


  407. Finally, the AMC Board authorized the Company to enter into the Deposit Agreement
     with Computershare, whereby Computershare would act as the depositary of the APEs. Under
     the terms of the Deposit Agreement, in connection with any stockholder vote at which holders
      of Preferred Stock are entitled to vote, Computershare would vote shares of Preferred Stock as
      instracted by their holders. However, with respect to APEs (and, by extension, Preferred Stock)
      that are not present or for which voting instructions are not given, which otherwise would be
      treated as broker non-votes, Computershare will vote those units proportionally in the same
      manner as APE units for which holders do give specific voting instructions.




  158 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 97.
  159 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 98.
  160 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 99.
  161 The Unredacted Operatin Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 100.
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  408. In other words, while absentee and uninstructed common shares are effectively negative
     votes in the context of any amendment of the Certificate requiring a majority of all outstanding
     shares to pass, the mirror-voting feature in the Deposit Agreement will turn absentee and
     uninstructed APEs into votes proportional to the actual votes cast regardless of whether
     shares of Common Stock could be voted on the same proposal absent the receipt of instructions
     from beneficial holders. Thus, as long as more APEs vote for a charter amendment than against
     it, the proposal will be far more likely (and perhaps assured to pass. That agreement was
     executed on August 4, 2022. 162


  409. “The mirrored voting procedures for shares of Preferred Stock corresponding to absentee
     and uninstructed APEs were not specifically disclosed to AMC stockholders, who would have
     had to painstakingly search through the Deposit Agreement to find them. Nor did AMC s
     disclosures instruct common stockholders to hold onto their APE units to protect themselves
     from the dilution that would come from aggressive APE issuances followed by an effort to
     massively alter AMC s authorized share count. 163


  410. On July 28th, 2022, at 2:58 pm, John Merriwether drafted an email with the subject titled:
     Shareholder Voting Info, and the email addressed to Eddie Gladbach stating,


            “Hey Eddie,


            Sean is looking for voting data for when we were trying to get shares
            authorized, I know Geoffrey Weinberg is no longer with DF King, but I was
            wondering if you would happen to have voting results on authorization? He s
            trying to see if for those that voted, were they voting yes for the authorization?
            My recollection was they were not, and I will also look back in my emails to
            see what I can find.


                                                                         Thanks,
                                                                         John 164


  411. A little over an hour later, Eddie Gladbach responded to John Merriwether’s July 28th, 2022
     email stating,



  162 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 102.
  163 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 103.
  164 Link: https://www.docketalarm.com/cases/Delaware State Court of Chancerv/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ E hibit 26 page 852
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             This appears to be the last tally before we pulled the proposal for the second
            meeting. Similar outcome to the first time.
                                                                        Eddie 165


  412. Attached to Eddie Gladbach s email was a pdf file with the following name - AMC Vote
     Summary AM 7.29.2021.



                   On August 4th, 2022 AMC Announces the Creation of APEs



  413. On August 4th, 2022, AMC announced that it was creating a new class of securities known

     as AMC Preferred Equity units (called APE(s) as an homage to its retail investor base) to be

     issued initially to existing holders of the Company s common stock as a special dividend, at

     the close of business on August 15th, 2022, the record date. In February 2022, Citigroup

     proposed labeling these rights as "AMC Preferred Equity Units" or "APEs". The choice of this

     name was deliberate, and explicitly appealed to the existing "APE movement". The ex-

     dividend date for the APEs was August 22nd, 2022. AMC further announced that APEs would

     be traded on the NYSE under the symbol APE starting August 22nd, 2022.



  414. “Because the AMC Board had authorized 1 billion APEs and the dividend would only
     cover 516,820,595 APEs i.e., a number equal to the number of shares of Common Stock
     issued and outstanding on August 15th, 2022 approximately 483.2 million APEs would be
     categorized as authorized but unissued units on AMC’s balance sheet. 166


  415. In a tweet issued by Aron on the same day, he described the move as playing 3-D chess
     in a series of tweets:
          “1. In this important Tweetstorm, a dozen messages explain a bold step. In
          addition to releasing today our handsomely improving second quarter 2022
          earnings, we also broke out the 3-D chess board and got creative. A big move
          that addresses so many of your asks. TODAY.. .WE.. .POUNCE 167


  165 Link: https://www.docketalarm.com/cases/Delaware_State_Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 26 page 852
  166 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 105.
  167 CEO Adam Aron on X (formerly called twitter). August 4th, 2022. X.com
   Linkhttps://twitter.com CEOAdam/status/l 555288043317350406
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                                    1682




            2. Q2 AMC results very encouraging. Revenue two and a half times Q2 21 and
           positive Adj. EBITDA, an enormous improvement over Q2 21. As promised, it
           is time to take bold action. An AMC Preferred Equity dividend to holders of
           common shares. Read this OPEN LETTER. #TodayWePounce 168


            6. Candidly I ve seen no evidence so-called fake or synthetic shares exist. But
           many of you disagree. This preferred equity dividend goes ONLY to company
           issued shares. So, it will have the impact of a share count or unique
           dividend many of you have sought. #TodayWePounce 169


            12. I must tell you all. It is complicated, but it really is satisfying to play 3-D
           chess, especially if you know how to play it well. Today AMC Entertainment
           announced both vastly improved eamings and our game-changing new APE
           securities. #TodayWePounce 170


  416. On August 4th, 2022, AMC filed a Certificate of Designations (the Certificate of
      Designations ) with the Secretary of State of the State of Delaware, which designated
      10,000,000 shares of the Company s authorized preferred stock as Series A Convertible
      Participating Preferred Stock (previously defined as the Preferred Stock ). The Certificate of
      Designations had the effect of amending the Company’s charter under Delaware law.171


  417. The Certificate of Designations provided that the AMC Board, by resolution adopted on
     July 28th, 2022, authorized the Preferred Stock and established a Pricing Committee to
      determine the final terms of the Certificate of Designations. On August 4th, 2022, the Pricing
      Committee approved the final terms of the Certificate of Designations. Each Preferred Share
     was designed to be equivalent (in economic and voting rights) to 100 Common Shares. Each
     AMC Preferred Equity Unit (“APE ) is a depositary share and represents an interest in one
      one-hundredth (1/100th) of a share of Preferred Stock. Thus, each APE was designed to have
     the same economic and voting rights as 1 share of Class A common stock. Each APE was
      entitled to 1 vote on all matters AMC’s stockholders could vote on as a single class. Subject
     to approval of all stockholders, the APEs were convertible to Class A common stock provided



  168 CEO Adam Aron on X (formerly called twitter). August 4th, 2022. X.com
    Link: https://twitter.com/CEOAdam/status/1555302374096474114
  169 CEO Adam Aron on X (formerly called twitter). August 4th, 2022. X.com
    Link: https://twitter.corn/CEOAdam/status/1555303048989364227
  170 CEO Adam Aron on X (formerly called twitter). August 4" , 2022. X.com
    Link: https://twitter.com/CEOAdam/status/1555325467317751810
  171 THIRD AMENDED AND RESTATED CERTIFICATE OF INCORPORATION OF AMC
  ENTERTAINMENT HOLDINGS, INC. August 4, 2022. SEC.gov. Link:
  https://www.sec.gOv/Archives/edgar/data/l 411579/000110465913092001 /a 13-26957 1 ex3d 1 .htm
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     there was sufficient authorized but unissued shares of Class A common stock to support such
     a conversion (which there was not at the time the Preferred Stock was created).


  418. The APEs are evidenced by a depositary receipt pursuant to a Deposit Agreement (the
      Deposit Agreement ) among the Company, Computershare Inc. and Computershare Trust
     Company, N.A., collectively acting as depositary and conversion agent (together, the
      Depositary ).


  419. AMC deposited the underlying shares of the Preferred Stock with the Depositary pursuant
     to the Deposit Agreement. The Deposit Agreement contained a unique voting provision that
     the AMC Board failed to sufficiently disclose not reflected in the Certificate of
     Designations that requires the Depositary to vote all of the Preferred Stock represented by
     the APEs regardless of whether all of the APE holders actually cast a vote (previously defined
     as the Depositary Voting Requirement ). Specifically, the Deposit Agreement provided in
     relevant part as follows:


            In the absence of specific instructions from Holders of Receipts, the
            Depositary will vote the Preferred Stock represented by the AMC Preferred
            Equity Units evidenced by the Receipts of such Holders proportionately with
           votes cast pursuant to instructions received from the other Holders.



     This would allo the AMC Board to dictate the outcome of any proposal, as long as they
     could entice holders of APEs to support amendin the Certificate.


  420. AMC included this provision in the Deposit Agreement because it knew the impact of the
     provision would artificially inflate the voting power of the APEs, and remove voting control
     entirely from the Class A common stockholders.


  421. AMC also issued APE FAQs in which it claimed that APEs were “designed to have the
     same economic value . . . [and] voting rights as a share of Common Stock. AMC further
     claimed:


           Are the AMC Preferred Equity units convertible into common stock? If so,
           when?

           • Technically yes, the AMC Preferred Equity units can convert into
           common stock, but only if the AMC Board proposes and then investors vote
           to approve an increase in the number of uthorized shares of common stock,
           in an amount at least sufficient to permit the conversion of the AMC Preferred
           Equity units into common stock.
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             • However, we do not currently expect the AMC Board to make such a
             proposal any time soon.

             • It is more likely than not that the two securities, the common stock and
             AMC Preferred Equity units will trade as two separate securities for quite
             some time to come. 172>173




  422. The AMC Board also told stockholders that they should not worry about dilution of the
      Common Stock:


              Is there any common stock dilution due to the AMC Preferred Equity unit
             dividend?
             • The number of shares of common stock outstanding (516,820,595)
             remains unchanged as a result of the distribution of the AMC Preferred
             Equity units.

             • In addition to the 516,820,595 shares of common stock outstanding on
             August 19, 2022, an additional 516,820,595 AMC Preferred Equity units will
             become outstanding on the ex-dividend date of August 22, 2022.

             • Therefore, because these APEs are all going, and only going, to existing
             shareholders, there is no dilution from this initial APE dividend.

             • Dilution occurs only when the AMC Board decides that the Company
             should issue additional AMC Preferred Equity units in the future. AMC
             expects that it will decide to issue more APEs with the express purpose of
             debt reduction or repayment, along with other potential uses for additional
             APEs as has previously been communicated publicly. 174



  423. The AMC Board had already intended to seek an increase in the number of shares of
      Common Stock when it approved the APE dividend. Rather than disclose that information,
      however, the AMC Board affirmatively misrepresented its intentions to stockholders and
      downplayed any imminent dilution risk.




  172 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) c se. See paragraph 107.
  173 AMC Preferred Equity unit ( APE ) Dividend Frequently Asked Questions (FAQs). August 2022.
  SEC.gov. Link:
  https://www.sec.gov/Archives/edgar/data/1411579/000110465922092397/tm2223780dl_ex99-l.htm
  174 AMC Preferred Equity unit ( APE ) Dividend Frequently Asked Questions (FAQs). August 2022.
  SEC.gov. Link:
  https://www.sec.gov/Archives/edgar/data/1411579/000110465922092397/tm2223780d l_ex99-l.htm
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  424. In the APE FAQs, the AMC Board did not inform stockholders that uninstructed APEs
     would be voted on a proportional basis by Computershare or that holders of APEs who do not
      even attend a meeting would still see their APEs voted by Computershare.


  425. Finally, AMC predicted that:

             Because the AMC Preferred Equity unit is designed to have the same
            economic value and voting rights as a share of common stock, in theory, the
            common stock and AMC Preferred Equity unit should have similar market
            values and the impact of the AMC Preferred Equity unit dividend should be
            similar to a 2/1 stock split. 175


  426. In an August 4th, 2022 Open Letter to the common stockholders, Aron foreshadowed his
     real reason for issuing the APEs:


              While each APE is designed to have the same rights as a common share, and
            can convert into a share of common stock that conversion decision is solely
            up to you. Conversion can only take place if the company proposes and
            shareholders (including APE holders) vote to approve the authorization of
            additional common shares at a future AMC Entertainment stockholders
            meeting. That is still your call to make. (Emphasis added). 176


  427. On August 6th, 2022, Aron followed up on his Tweet Storm reminding AMC
     stockholders, that


            “Oh and while I am on a role this lovely Saturday. There is absolutely NO
            DILUTION in this initial stock dividend payout on August 19. That is
            because initially all these APE s go, and only go, to our current shareholder
            base. You own the same percentage of AMC before and after. It only would
            be dilution if we decide after August 22 to issue more APEs, above and
            beyond the initial dividend amount. But as I tweeted earlier, if we were to do
            that smartly, that could be very good for AMC investors. Our track record at
            AMC is excellent on this score so far. 177


  175 AMC Preferred Equity unit ( APE ) Dividend Frequently Asked Questions (FAQs). August 2022.
  SEC.gov. Link:
  https://www.sec.gov/Archives/edgar/data/1411579/000110465922092397/tm2223780dl_ex99-l.htm
  176 An Open Letter to AMC Entertainment Shareholders from Our Chairman and CEO Adam Aron.
  August 4, 2022. SEC.gov. Link:
  https://www.sec. ov/Archives/edgar/data/1411579/000110465922086144/tm2222422d3_ex99-3.htm
  177 CEO Ada Aron on X (formerly called twitter). August 6,h, 2022. X.com
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 21 of 92 PageID #:
                                    1686




  428. On August 6th, 2022, Aron issued a tweet to address concents about dilution related to
      Project Popcorn, aiming to counter any savvy AMC stockholders who were exposing dilution
      and its potential impact on the overall stock price.


               Biggest FUD of all. On dilution: Some misunderstand or try scaring you.
              There s bad dilution and good dilution. If added liquidity gained from
              dilution is wasted, it s bad. However, if wisely handled, it is good. Indeed,
              for AMC in 2021, it was actually great for our shareholders. 178


  429. At no point does Aron, in his August 6th, 2022 Tweet, address the dilution factor and its
      impact on EPS. Since 2020, AMC’s outstanding shares have increased from a little over 100
      million shares to over 520 million shares, with AMC making little progress in reducing its debt
      load.


  430. In the issued Tweetstorm by Aron he describes APE shares as tax-free, a stock dividend
      and it is NOT dilution:

               You will get 1 APE tax-free, as a stock dividend, for each 1 AMC common
              share that you own. At least for now, this big news today is NOT dilution, as
              the AMC Preferred Equity unit dividends all go, and only go, to existing
              owners of company issued common share #TodayWePounce 179


  431. On August 8th, 2022, Aron was on Yahoo! Finance live, a show with anchors Brian Sozzi,
      Julie Hyman, and Brad Smith. Two minutes and forty-three seconds into the interview, Julie
      Hyman asked Aron the following question about the APEs:


              Julie Hyman: So break this down for us, Adam. It's Julie here. So how will
              this allow you to walk us through how this allows you to raise cash because
              the first issuance of these shares will be to existing shareholders, correct? So
              that doesn't raise cash for you. It would be if there was a wave at some point
              where you would actually sell shares, correct? 180




   Link: https://twitter.com/CEOAdam/status/1555959338442919939
  178 CEO Adam Aron on X (formerly called twitter). August 6th, 2022. X.com
   Link: https://twitter.com/CEOAdam/status/1555949799362396160
  179 CEO Adam Aron on X (formerly called twitter). August 4, 2022. X.com
    Link: https://twitter.com/CEOAdam/status/1555302885931589633
  180 AMC CEO: New APE stock class takes survival risk off the table’. CEO Adam Aron Interview with
  Yahoo Finance. Link: https.7/finance.yahoo.com/video/amc-ceo-ape-stock-class-162906608.html
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             Adam Aron: What you just described is accurate. So what we are doing in
             the creation of preferred equity is we're doing what I guess you would it's
             called a stock dividend, but it operates like a stock split, so to speak. In a
             stock split, you have a common share. It's split. You've got two common
             shares, a two to one stock split. In our case, you'll get one preferred APE unit
             and a common share for the old common share. So that doesn't raise any cash
            to the company. That just puts APEs into circulation in the hands of our
            shareholders. Having said that, the authorization that we received from
            shareholders back in 2013 is that we could theoretically not that we ever
            would, but we could theoretically issue up to 5 billion of these things. Now,
             it would be foolish to do that. The market wouldn't support that. Our shares
             are precious things. We treat them as such. We'll only take what we
            believe is smart, wise action. Having said that, part of that smart, wise action,
            down the road, when we wish to, we could sell more APEs into the market.
            In addition to the 517 million that go out on day one in terms of this stock
            dividend. 181


  432. Four minutes and twenty-six seconds into the interview, Julie Hyman asked Aron a follow¬
      up question with regards to AMC stockholders not wanting to increase the number of
      authorized shares of conunon stock the Company could issue,


            Julie Hyman: And also, at some point, these preferred shares could be
            convertible into the common shares of the company. Now earlier this year,
            your shareholders said they didn't want you to issue more common shares.
            What do you think would make those circumstances change, and would you
            be able to convince shareholders at some point to convert those shares or to
            issue more common stock? 182


            Adam Aron: “Well, this is really important, Julie. The shareholders didn't
            say, no, that they did not want us to issue more common stock. It was last
            summer May, June, July. We had it out for a shareholder vote. The vote
            was split. It was actually runnin favorable in favor of a stock issuance
            at the time. But it was my opinion, my decision. I pulled the vote. I pulled
            the tabulation. I took the question off the table. And the reason I did
            that back then is while we were winning the vote, it was close, and I didn't
            think that on something this important, we should do it at a time when



  181 AMC CEO: New APE stock class takes survival risk off the table . CEO Adam Aron Interview with
  Yahoo Finance. Link: https://fmance.yahoo.com/video/amc-ceo-ape-stock-class-162906608.html
  182 AMC CEO: New APE stock class ‘takes survival risk off the table’. CEO Adam Aron Interview with
  Yahoo Finance. Link: https://fmance.yahoo.com/video/amc-ceo-ape-stock-class-162906608.html
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            the shareholders were not for it in big numbers. What's changed since then
            is I think that we've proven back in January of 2021, when we were issuing
            shares, our share price went up. Back in May and June when we issued shares,
            our share price went up. When we stopped issuing shares in July of 2021,
            our share price started a gradual decline. And I think we've been able to make
            the case to our shareholders that this new class of preferred stock, it's in their
            interest. It's in the company's interests. And as you can see, the market
            reaction to our announcement has been very positive. 183


  433. The Broadridge voting results for May 4th, 2021184, on Proposal 1- approve amendment to
     increase Class A Common Shares, shows that while Aron was being interviewed by Julie
     Hyman on August 8th, 2022, he completely misrepresented the results of the vote as reflected
     below:


                                 Total Shares Voted For              116,229,932
                                 Total Shares Voted A ainst          126,265,852
                                 Abstain                               2,375,509

  434. The Broadridge voting results for July 29th, 2021185, on Proposal 1- approve amendment to
     increase Class A Common Shares - Withdrawn, shows that while Aron was being interviewed
     by Julie Hyman on August 8th, 2022, he once again completely misrepresented the results of
     the vote as reflected below:


                                 Total Shares Voted For               50,539,791
                                 Total Shares Voted Against          101,407,329
                                 Abstain                              40,839,521



  435. On August 13th, 2022, at 7:47 pm EST, Aron tweeted out to AMC stockholders, giving
     them notice that,


              Blindly fear dilution? You miss crucial FACTS. In Jan 21 AMC issued
              shares, AMC share price soared. May/June ‘21 more AMC shares, again our


  183 AMC CEO: New APE stock class ‘takes survival risk off the table . CEO Adam Aron Interview with
  Yahoo Finance. Link: https://finance.yahoo.com/video/amc-ceo-ape-stock-class-162906608.html
  184 Link: https://www.docketalarm.com/cases/Delaware_State Court of Chancerv/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 31 pages 864-866
  185 Link: htt s.7/www.docketalarm.com/c ses/Delaware State Court of_Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER_LITIGATION/918026
  42/ Exhibit 32 pages 868-870
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             stock soared. Stopped selling shares July 21, $AMC started a long fall. APEs
             announced last week, $AMC up again. APEs makes AMC stronger. 186



  436. On August 19th, 2022, AMC issued an initial 516,820,595 APEs to the holders of its
     516,820,595 shares of Class A common stock, on a one-for-one basis, in the form of a special
     dividend.



  APE units Start Trading - The Project Popcorn Scheme Moves Forward with the Creation
                                       of the APE and AMC Spread

  437. On Friday August 19th, 2022, AMC common stock closed at $18.02 per share.


  438. On August 22nd, 2022, APE commenced trading on the NYSE. It was like Agamemnon
      leaving a horse outside Troy s walls, as the Board had set in motion its end-run around AMC s
      stockholders votes.


  439. All AMC stockholders should have been on "equal footing", with their portfolios reflecting
       x number of shares of AMC and an equivalent number of shares of APE, maintaining fai ess
      and equity among investors.187


  440. However, many stockholders, particularly with oversea brokers, did not receive their shares
      on time. Other stockholders reported they never received APE, just a cash payout.


  441. The foregoing table reflects the number of shares that were used:



                                Security type                         outstan ing shares
                                AMC common                                        516.820.595
                                  PE units authorized for issuance               1.000.000.000
                                APE units special dividend                        516.820.595
                                APE units possible for issuance                   483.179.405
                                APE units issued acc. proxy finling               929.849.612


                                 Table 1: U derlying n mbers fo calculations




  186 CEO Adam Aron on X (formerly called twitter). August 13th, 2022. X.com
   Link: https://twitter.com/CEOAdam/status/1558601088281874432
  187 For some people, the APE took days to reflect in their account
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                                    1690



  442. For those investors that did receive the correct number of APE shares, they found that AMC
     and APE opened on August 22nd, 2022 at:


                                     AMC: $11.33 APE: $6.95

  443. So essentially, at the outset, the APE dividend accounted for 38% of the original AMC's
     previous value, leaving the remaining 62% with AMC stock. In other words, APE took
     $3,591,903,135.25 of market capitalization from AMC Common Stock.


  444. Minutes after the stock market opened, APE was halted for trading.


  445. However, the halts didn t end there. By the end of the day AMC was halted 3 more times
     and APE was halted 10 more times, which created additional stockholder confusion and
     interference for those that were trying to buy or sell. Aron tweeted later that evening stating,




              149 million AMC shares and 108 million APEs traded Monday on the
            NYSE. Exchange “halts trading due to volatility, defined as a +/- 5% price
            change within a 5 minute period. If so, trading is stopped for a 5-minute . On
            Monday, AMC was halted 3 times, APE halted 10 times! 188



  446. By the end of the August 22nd, 2022 trading day, AMC and APE closed at:

                                    AMC: $10.46 APE: $6.00


  447. The combined total value of AMC and APE ($16.46) was already down about 8.6% from
     the previous trading day (where AMC closed at $18.02).


                           First Element of the Project Popcorn Scheme



  448. On August 22nd, 2022, AMC and APE did not trade at parity (the same price); instead, their
     spread (the difference in prices between APE and AMC) only increased. This outcome was
     anticipated by the AMC Board, considering that they knew that inde funds and various
     institutional investors were constrained from holding derivative securities or tickers not
     included in the relevant index like APE. Additionally, prior to its launch, the AMC Board was


  188 CEO Adam Aron on X (formerly called twitter). August 22nd, 2022. X.com
    Link: https://twitter.eom/CEOAdam/status/l 561857596730101760
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 26 of 92 PageID #:
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     aware that 78 million shares, constituting 15 percent of APE's float, would be sold from day
     one, contributing to a downward pressure on APE's trading price.189


  449. On August 23rd, 2022, at 5:02 pm EST, Aron tweeted out to AMC shareholders, giving
     them notice that,


             On 2nd day on the NYSE, 103.5 million new APE units (and 77.5 million
            AMC shares) traded. As expected, some brokerages doing better than others
            in getting you your APEs. All 4 of the brokers I use had it right, got their
            clients (including me) APEs by close of business yesterday. 190



  450. Following Aron s August 23rd, 2022 Tweet, hundreds of AMC shareholders tweeted back
     at Aron expressing their frustration:


            Why was trading allowed to occur at all until everyone got their dividend?

            Yeah they put those placeholder lOU s in just fine like we knew they
            would. WE NEED A COUNT!!

            Non US brokerages are putting APE in clients account Aug 24 - Aug 26.
            Whose responsible for the loss from APE’s highest price so far as those
            without shares could not sell at all when APE was at $10 ?!
            We need a MARKET MAKER for retail and AMC/ APE

            In Greece haven't received anything yet. CITIBANK is the broker and doesn't
            reply to my request regarding my APE shares

            Germany is still waiting.

            Are you going to address the monkey in the room - shareholders who
            haven’t procured their APE shares?

            Have you exercised your fiduciary duty and reached out to these brokers for
            an explanation for the delay ?? Have you confirmed if the shares being
            distributed are legit shares or lOUs? Asking for a few million apes ...




  189 June 29-30 AMC Settlement Hearing
  190 CEO Adam Aron on X (formerly called twitter). August 23rd, 2022. X.com
    Link: https://twitter.eom/CEOAdam/status/l562183610173718528
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 27 of 92 PageID #:
                                    1692



  451. On August 23rd, 2022, Twitter handle ©Apeocalypsel tweeted at Aron and tagged
     @Wealthsimple, a Canadian online investment management service, stating,



                Why does ©Wealthsimple let me buy #APE but not give me the ones I'm
                owed ..fack this isn't science ©mkatchen CEO of ©Wealthsimple


  452. That evening, Wealthsimple responded to ©Apeocalypsel by tweeting the following
     message,



          You do not need to purchase an $APE share in order to see your shares.
          Your shares should be posted in your account today. If you do not see
          them by the end of the day, please contact our team at http://wsim.co/support


          ©Apeocalypsel responded,

          How many times do I need to contact you there not there!!! just put them
          in our accounts...




  453. On August 31st, 2022, Ms. Blackwood was arrested at her home in the Bronx.



          September 21st, 2022 AMC s Pricing Committee authorizes AMC to sell up to
                                  425 million APEs in ATM offerin s



  454. On September 21st, 2022, AMC's Pricing Committee, comprising of Aron, Kathleen
     Pawlus, Lee Wittlinger, and Philip Lader, authorized AMC to sell up to 425 million APEs, via
     written consent, in ATM offerings for no less than $2 per APE.


  455. On September 21st, 2022, AMC and APE closed trading at:


                                    AMC: $8.60 APE: $3.98

  456. While the trading price of APEs was in freefall and the spread between AMC and APE was
     only widening, the AMC Pricing Committee s decision to sell unissued APEs at distressed
     prices, raises concerns about their adherence to sound business logic while further diluting
     existing AMC stockholders.
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                                    1693


  457. On September 23rd, 2022, Etan Leibovitz placed a call to the Chicago Board Options
     Exchange from a recorded line to inquire why there was an option chain for APE, two days
     after APE commenced trading on the NYSE, on August 22nd, 2022. Etan Leibovitz has yet to
     receive an answer to his inquiry.


  458. On September 26th, 2022, AMC supplemented its August 4th, 2022 prospectus, expanding
     the offering to include up to 425 million APEs for sale. Notably, AMC disclosed that it had
     entered into an equity distribution agreement with only Citigroup Global Markets Inc. as its
     underwriter for this offering, deviating from previous ATMs where AMC typically engaged at
     least 2 or 3 underwriters, like Goldman Sachs and Riley Financial. This marked the first
     instance of using a single underwriter for such transaction.


  459. Soon after, AMC started selling APEs to the market.


  460. Subsequent to APE s launch, at no point did AMC and APE trade at parity instead their
     spread only increased.


                         Second Element of the Project Popcorn Scheme



  461. As the spread between APE and AMC widened while both their prices dropping, a new
     class of institutional investors and traders emerged, seeking to capitalize on the arbitrage
     opportunity created by the price difference between the APE units and AMC stock.


  462. Because APE was potentially convertible into AMC common at a future point in time,
     many investors saw AMC and APE as interchangeable.


  463. Many investors were incentivized to buy APE at a much lower price in the hopes that both
     AMC and APE would be merged together in the future. For an arbitrage example, on December
     2nd, 2022, APE closed at $1.00, and AMC closed at $8.17. Investor A might buy $1 million
     worth of APE at $1.00 and sell short $1 million worth of AMC at $8.17, equivalent to 122,399
     shares, to Investor B. If AMC and APE merged at an equivalent rate, post-merger, Investor A
     would have 1 million shares valued at around $4.59 million (a 4.59x increase in value).
     Additionally, Investor A could close the short position by buying 122,399 shares of AMC at
     the post-merger value of $4.59, resulting in a profit of $438,188.42 in cash from that trade.
     However, post-merger, Investor B would have 122,399 shares valued at around $561,811.41,
     indicating a loss of around 46%. This example illustrates the potential profitability of a well-
     executed arbitrage play on AMC and APE, involving two profitable trades simultaneously.


    Third Element of the Project Popcorn Scheme - the Floor to Sell Ape Is Lowered To $1
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                                    1694




  464. On October 12th, 2022 at 12:03 pm, Aron drafted an email from his non-AMC corporate
     account (Adam Lofts At BV) with the subject titled - [Chat #51] and sent it to himself at his
     AMC corporate account, Kevin Connor, Kathleen Pawlus, Lee Wittlinger and Sean Goodman
     to convince the APE pricing Committee to lower the floor to sell APE to $ 1, ,


             Attorney Client Privilege Kathy/Lee, We have no choice. We must raise
            cash. APE is our only vehicle. And it and AMC have been dropping like a
            stone last month. We had previously set a two dollar price floor for APE
            sales. It fell below $2.00 on Monday. We sat out Monday and Tuesday to
            see if it was our selling that was causing the price decline. It is not. APE is
            still falling. Now AMC + APE totals around $7.50 (still a robust $3.8 billion
            market cap) but irrationally instead of the prices reflecting 50-50 between
            the preferred and common, it is more like a 25-75 split between the preferred
            and common. So, APE trading around $1.70. I would strongly ur e us as
            the Pricing Committee to lo er the price floor to $1.00. Do you agree?
            I m happy to do a phone call this morning if we need it, but I think we can
            reach approv l via this text chain. Adam 191


  465. Seven minutes later, Aron drafted another email from his non-AMC corporate account
     (Adam Lofts At BV) with the subject now titled - [Chat #52] and once again sent it to himself
     at his AMC corporate account, Kevin Connor, Kathleen Pawlus, Lee Wittlinger and Sean
     Goodman stating,


             Attorney Client Privilege Kathy/Lee, In case you re wondering why do we
            need to raise cash. Why am I saying it is a necessity? 1. Yesterday, only due
            to Covid-caused production delays, Disney shifted a $350 million movie
            from 2023 to 2024. Current industry box office forecast for next year is now
            more like $9.5 billion - not the $10.5 billion people hoped a month back 2.
            We are currently refinancing our European debt, but are likely to use $50-
            $100 million of cash to do so as required by the lenders as they want to see
            us pay down some Fais amount of the debt. 3. Surging interest rates could
            increase our interest expense by $40-$60 million next year. It is essential that
            we strengthen our liquidity. Adam Adam 192



  191 Link: https://www.docketalarm.com/cases/Delaware State _Court_ of Chancery/2023-
  0215/IN_RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER,LITIGATION/918026
  42/ Exhibit 27 page 854
  192 Link: https://www.docketalarm.com/cases/Delaware State Court_of_Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ E hibit 28 page 856
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 30 of 92 PageID #:
                                    1695



  466. Rather than defend the distressed asset, the APE units, the AMC Pricing Committee instead
     agreed to lower the floor to sell APE to a precious $1 per unit. This decision represented an
     -86% value threshold compared to the initial pricing of $6.95, which was the opening price on
     August 22nd, 2022.


  467. On November 7th, 2022, Citigroup s analyst Jason Bazinet reaffirmed his Sell rating on
     AMC. Bazinet cut his $3.13 price target to an even worse $1.20.193


  468. During AMC s ea ings call in November 2022, Aron spoke to the creation of APEs and
     underlying investor concerns, stating:


              In launching them, we said that the creation of APEs was nothing less than
             an all defining moment in AMC s future, as it gave us a new currency to help
             AMC to grow, to deliver and the [sic] raise capital. We also said at the time,
             to those who feared mindless dil tions, that we would treat our new APE
            preferred stock that we would treat it as precious, and we will continue to
             do so. So far, we have raised only $37 million of equity proceeds from the
             sale of APEs into the market, we have indeed been careful. 194


  469. A year after Project Popcorn was launched, on November 10th, 2022, Aron was on the
     Claman Countdown. Seven and half minutes into the interview, Liz Claman asked Aron the
     simplest direct question:


             Liz Claman: “Back in June of 2021, AMC was what a $60 stock, the retail
             investors were all in, by November and December company insiders
             including yourself and we talked about this, were selling shares anywhere
             from 27 to 40 bucks, you did telegraph that, that would happen on an ea ings
             calls, but some triangulate that insiders didn’t believe the company was worth
             such a high evaluation that's why they were selling, can you just clarify that?


             Adam Aron: No Liz, I can t because that is 2021 news that is ancient
             history. 195




  193 Citigroup Maintains Sell on AMC Entertainment, Lowers Price Target to $1.2. Benzinga. Posted on
  November 7, 2022. Link: https://www.benzinga.com/news/22/ 1/29594072/citigroup-maintains-sell-on-
  amc-entertain ent-lowers-price-target-to-1 -2
  194 AMC Entertainment Holdings, Inc. (AMC) Q3 2022 Earnings Call Transcript. November 10, 2022.
  SeekingAlpha. Link: https://seekingalpha.com/article/4555132-amc-entertainment-holdings-inc-amc-q3-
  2022-eamings-call-transcript
  195 Interview Adam Aron with Liz Claman on Fox Business - Claman Countdown on November 10th,
  2022, Time: 07:36 - 08:06, Source: https://www.foxbusiness.com video/6315332313112
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 31 of 92 PageID #:
                                    1696


  470. Aron's evasive response to Liz daman's straightforward question about insider selling in
     November and December 2021 and the perceived valuation of AMC, raises questions about
      his state of mind and culpability in light of Project Popcorn being memorialized sometime in
     November 2021 and Aron telling Marc Cohodes to stand down.


  471. On November 14th, 2022, Aron was on Squawk Box, a show on CNBC with Andrew
      Sorkin. Two minutes into the interview, Andrew Sorkin asked Aron the following questions:


            Andrew Sorkin: I want to read you something that Wedbush securities
            analyst Alicia Reese wrote .... she said, I think their announcement that they
            began selling some of their announced 425 million APE shares at such a low
            per share price speaks to their cash needs or perhaps more frivolous spending.
            What do you think if you read that?

            Adam Aron: Oh it s kind of ridiculous. When we launched the APE
            security in August of 2022, like a couple of months ago, we said right back
            then that we were going to raise capital with it but we re going to do so with
            a slow and steady pace. Judicially the market sets the price, we don’t set the
            price. We’ll raise capital to wherever the price is but we’re not going to flood
            the market by selling a ridiculous quantity of shares. That is not the right way
            to do it. Remember, nobody is more practiced at this than AMC [...] We
            know what we’re doing. We are doing it the right way. We continue to raise
            capital and that’s the smartest way to run the company.


            Andrew Sorkin: You said you’re gonna continue to raise capital. So how
            are you continue to raise capital?


            Adam Aron: “We have the opportunity to raise capital every day through at
            the market offering but we’re only doing it in small quantities, judicially and
            smartly. But these are precious things, our preferred stock and we don’t want
            to waste it or spook the market by trading too much too fast. [...] We know
            what we’re doing. 196


  472. On November 30th, 2022, the APEs traded for the first time below the bargain price of $1
     per unit, forcing AMC to stop selling APEs through the ATM.


  473. APEs would trade one more time above $1 per unit on December 1st, 2023 and then from
     December 2nd - December 21st, 2022 under $1.


  196 Interview: Adam Aron with Andrew Sorkin. November 14th, 2022. CNBC.
  Link: https://www.cnbe.eom/video/2022/l 1/14/watch-cnbcs-full-interview-with-amc-ceo-adam-aron.html
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 32 of 92 PageID #:
                                    1697




  474. On December 6th, 2022, at 10:52 am, DF King Se ior Vice President Krystal Scrudato
     drafted an email titled AMC/APE Model and emailed Eddie Gladbach, John Merriwether,
     Sean Goodman, and Kevin Connor. She also cc d her colleague Michael Madalone at DF
     King, stating,


             All,
              Attached is a model designed to show which combinations of APE and
           AMC support (as a % of votes cast collectively in favor) would et us to
           requisite vote requirement of the majority of the combined outstanding
           shares. This model allows you to place inputs in the yellow highlighted cells
           and will recalculate the projected share need accordingly. Note, this model
           is illustrative, rather than predictive, and runs under the following
           assumptions:


            • The proposal put forth will be a non-routine proposal
            • All unvoted APE Shares will be pushed through on a proportionate
                basis
            • AMC shareholder vote participation levels will be in line with
                historical (does not take into account potential use of extraordinary
                retail measures that would increase AMC participation and
                favorability, i.e. aggressive outbound telephone campaign, reminder
                correspondence, social media usage, strategic PR messaging from
                Adam and the AMC team, etc.)


           Please review and let Mike & I know of any questions. We d be happy to
           set another call to discuss further, if desired.


                                                              Thank you,
                                                              Krystal and Mike 197



  475. The content of Krystal Scrudato's December 6th, 2022 email, along with the attached AMC
     APE Model Excel sheet, which incorporates a dynamic recalculated projected share need
     function, reflects a coordinated effort by DF King to assist AMC's Board in manipulating and
     rigging the vote in their favor.




  197 Link: https.7/www.docketalarm.com/cases/Delaware_State_Court_of_Chancery/2023-
  0215/IN_RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATIQN/918026
  42/ Exhibit 15 page 812
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 33 of 92 PageID #:
                                    1698


  476. Krystal Scrudato's December 6th, 2022 email concluding with the statement "We d be
      happy to set another call to discuss further, if desired" suggests that a call between the parties
      had already taken place before the email was drafted.


                                                   Antara


  477. On or about December 7th, 2022, Derek Van Zandt introduced Aron to Antara.


  478. On December 8th, 2022, at 1:19 pm, Derek Van Zandt drafted an email with the subject
       Antara . The email included an attached PDF file named 2022.12 AMC APE Investment
      Analysis_v6.pdf, indicating it went through 6 versions. The email was sent to Aron and
      Sean Goodman stating,


              Adam/Sean -


                 Attached is a preliminary ownership and vote analysis based on
             various investment scenarios ith Antara. We need to confirm their
             existing stake size but are assuming 60 mm shares for now. We probably
             need to discuss size considerations relative to 20 % threshold with your
             lawyers and any governance / control implications. I am talking to
             Antara at 2 pm ET to connect following yesterday s lunch.

                                                                    Derek 198



  479. Approximately two hours later, Derek Van Zandt drafted another email, once again with
      the subject Antara , but this time he included four of his colleague email accounts at Citibank
      (Cristian Gonzalez, Kak Shiv, Cass Meadows, and Mark Mikullitz) and Kevin Connor’s email
      account stating,


            Just spoke with Himanshu. He was very positive on yesterday s meeting.
           They want to proceed but are limited to $150 mm in size due to risk limits
           but believe they can stretch it to $190 mm with the repurchase of their
           $100mm face of 2Ls at 40. He is willing to allocating (sic) value to the bonds
           to provide for a higher APE price but we need to think this through. $190
           mm purchase of APEs at 20% discount. AMC purchase their $100mm 2L
           notes @40. AMC commits to proceeding with vote. Antara agrees to hold


  198 Link: https://www.docketalarm.com/cases/Delaware_State_Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATIQN/918026
  42/ Exhibits 1, 14 pages 8, 810
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 34 of 92 PageID #:
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           shares until vote and vote in favor. He wants AMC restricted from selling
           more APEs until after the vote including converts. Restriction lifted if APEs
           > 3. Wants participation in 8k / Press release drafting. Available for public
           information diligence on Monday in KC (Adam and / or Sean). Target
           transaction timeframe next week. 199


  480. With Antara agreeing to hold shares until the vote and vote in favor of conversion
     demonstrated that the Antara Transaction was not about raising capital from Antara, but rather
     about giving Antara a windfall to ensure it would vote in favor of the Certificate Amendments.


  481. Derek Van Zandt s December 8th, 2023 email to Aron, Sean Goodman, Kevin Connor, and
     his four Citibank colleagues reveals their back-door dealing and a coordinated effort between
     AMC, Citigroup, and Antara to manipulate the voting process. The aforementioned parties
     discuss the purchase of APEs at a discounted price, with AMC committing to proceed with the
     vote and Antara agreeing to hold shares and vote in favor. This collusion undermines the voting
     process' integrity and evidentially supports the argument of a premeditated plan to procure the
     desired outcome. It also highlights Antara's financial incentives to support the collusion. In
     exchange for their cooperation, Antara is offered a significant financial benefit through the
     repurchase of their $100 mm face of 2L notes at a favorable price. This arrangement not only
     showcases Antara's willingness to collude with AMC but also raises questions about AMC s
     true motivations and their commitment to acting in the best interests of AMC common
     stockholders. This email also reveals a clear intention to restrict competition and
     manipulate share prices which explains why AMC went with one underwriter. Antara
     requested to restrict APE sale to others until after the vote indicating collaboration to control
     and influence the market, potentially to the detriment of other shareholders. Derek Van Zandt's
     mention of Antara's willingness to participate in drafting 8K/press releases and provide public
     information diligence suggests an effort to control the narrative, raising concerns about
     transparency.


  482. Analyzing Antara s disclosed transactions, from their SEC filings, reveals a pattern of
     aggressive short-selling of APE units from at least November 2nd, 2022, shortly after Citigroup
     was named the sole underwriter in the APE ATM on September 26th, 2022. Antara
     consistently maintained a net short position on APE until November 25th, 2022. However,
     between November 25th and November 30th, 2022, Antara's strategy shifted, they started swing
     trading APE, and going net long on the security, coinciding with a significant development.




  199 Link: https://www.docketalarm.com/cases/Delaware State Court of_Chancery/2023-
  0215/IN _RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATIQN/918026
  42/ Exhibit 1 pages 8
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 35 of 92 PageID #:
                                    1700


  483. Derek Van Zandt's December 8th, 2022 email informs Aron that Antara is willing to hold
      the necessary APE units and vote in favor of the conversion. This revelation raises questions
      about Derek Van Zandt's prior contact with Antara (How could he know otherwise?). The close
      timing of Antara's strategy shift and Derek Van Zandt's recommendation to Aron cannot be
      dismissed as mere coincidence. It's plausible that Derek Van Zandt, the architect of the APE
      units and conversion plan, orchestrated Antara's involvement as the key stockholder needed to
      ensure the conversion vote's success. Examining Antara s transactions further reveals that
      between December 7th and December 16th, 2022, Antara sold 6,344,985 APE units, putting
      downward pressure on the price of APE from $0.81 to $0.73.


  484. Despite these sales, Antara still managed to accumulate a net long position of 8,918,175
      APE units by the end of December 16th 2022. Considering the potential gains from the
      arbitrage and the knowledge of a rigged and forced conversion vote, it becomes evident that it
      was strategically advantageous for Antara to acquire as many cheap APE shares as possible. It
      is worth noting that APE reached its all-time low of $0.67 in the days preceding the publicly
      announced Forward Purchase Agreement200 on December 22nd, 2022.


  485. While Aron may have referred to AMC s treatment of APEs as precious, AMC in fact
      flooded the market with over 800 million APEs at bargain basement prices in less than 6
      months.


  486. On December 21st, 2022 when the AMC Common Stock closed at $5.30 per share the
     APEs closed at $0,685 per unit. As noted, despite the two being functionally equivalent, the
      APEs traded at a deep discount to AMC s Common Stock. In response, the AMC Board set
      out to boost the price of the APEs while also increasing the Company’s authorized shares. It
     did so to the detriment, and against the wishes, of holders of AMC Common Stock.


                                    AMC: $5.30 APE: $0,685

  487. At a special AMC Board meeting on December 21st, 2022 via ZOOM videoconference, the
     following AMC Board of Directors were present at the meeting: Aron (chair), Phillip Lader
     (Lead Director), Anthony Saich, Howard Koch Jr, Kathy Pawlus, Gary Locke, Lee Wittingler
     and Adam Sussman and the following officers were present: Sean Goodman and Kevin
     Connor. The Board of Directors discussed a potential transaction with Antara, which had
     been introduced to AMC by Citi. Aron explained “that the Company had raised approximately
     $162M from its fall ATM efforts but that the APE price had fallen below $1.00, causing AMC


  200 AMC Entertainment Holdings Inc - Forward Purchase Agree ent, dated as of December 22, 2022, by
  and between AMC Entertainment Holdings, Inc. and Antara Capital LP - EX-10.1 - December 22, 2022;
  Source: https://fintel.io/doc/sec-amc-entertainment-holdin s-inc-1411579-ex 101 -2022-december-22-
  19348-8996
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      to stop selling shares in the open market. He also forecasted that the Company would have
       approximately $750M of liquidity for the end of the year including its $200M revolver. 201

  488. Next, Aron outlined the terms of the transaction with Antara, explaining that:


             (i) the Company would sell $110M of APEs to Antara at a blended price of
             $0.66, a slight discount to the $0,685 closing price today ;
             (ii) “Antara would purchase 60M shares today for $0.58 per share under the
             Company s ATM program and approximately 107M shares in 30 days, after
             antitrust clearance, for $0.70 per share ; and
             (iii) “AMC would purchase $100M of face value of AMC s 2L notes owned
             by Antara in exchange for approximately 9IM APEs. Antara would agree not
             to sell any stock for 90 days. 202


  489. However, Aron neglected his fiduciary duties by failing to investigate Antara's true
      intentions and their potential involvement in short selling, which could harm shareholder value
      and violate SEC Rule 10 5 203. Disregarding these concerns, Aron proceeded to present the
      Antara deal to the board.


  490. “Aron also told the Board that “AMC would schedule a special shareholder vote to
      authorize additional common stock such that Company s APE securities would convert to
      common stock on a 1-1 basis and at which the Company would also recommend a 10-1
      reverse stock split. Per Aron, Antara agreed to vote in favor of these proposals. Finally, “Aron
      explained that the resulting increase in liquidity to approximately $900M would be veiy
      desirable, although he did not identify any specific need for the liquidity. 204


  491. On the surface, these actions may have appeared to be aimed at increasing liquidity to a
      favorable level of approximately $900 million. However, upon further scrutiny, it becomes
      evident that retail shareholders were guaranteed to bear the consequences. In reality, AMC did
      not urgently require liquidity in 2022 to justify the Antara transaction based on the false claims
      of raising cash to avoid bankruptcy. According to AMC’s annual report, AMC had a cash




  201 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 119.
  202 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 120.
  203 RULE 105 OF REGULATION M: SHORT SELLING IN CONNECTION WITH A PUBLIC
  OFFERING, Source: Rule 105 of Re ulation M: Short Selling in Connection with a Public Offering
  (sec.gov)
  204 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 121
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      position of $654.4 million on December 31, 2O22 205. Taking into account the cash generated
      through the APE ATM206, the company would still have had approximately $425.6 million in
      its bank account.


  492. Following Aron s presentation, the Board discussed the transaction. During this
      discussion:


             Aron outlined the voting dynamics for the special shareholder meeting
             indicating that there were presently considerably mo e APEs i the float
             than common stock, that the APEs presumably would all want to convert
             and that the non-voting APE shares would be voted proportionately rather
             than as no votes, all of which factors gave AMC a good chance to secure
             approval for conversion. 207



  493. Thereafter, the directors noted that Antara might enjoy a windfall if the APE price
      increased but ultimately noted that AMC benefitted too if the price increased and that there
      were no assurances that the APE price would rise or convert. 208


  494. Next, Aron indicated that “one risk was if the retail investors were upset by the transaction
      and began selling their shares, causing the price of AMC equity to decline. Nevertheless, at
      the close of the meeting, the AMC Board approved the Forward Purchase Agreement. 209


  495. Part of the Project Popcom scheme, including with this sale to Antara, was to eliminate the
      voting control of the common stockholders who had made very clear their opposition to further
      dilution of their shares. The scheme included converting all APEs to common shares on a one-
      to-one basis, even though the APEs traded at a fraction of the price of the common stock, as
      the APEs would have a strong financial incentive to vote for the conversion.




  205 AMC annual report 2022, Page 51 ; Source:
  https://www.sec.gov/ix?doc=/Archives/edgar/data/0001411579/000141157923000038/amc-
  20221231xl0k.htm
  206 $228,8 gross proceeds. AMC annual report 2022, Page 49; Source:
  https://www.sec.gov/ix?doc=/Archives/edgar/data/0001411579/000141157923000038/amc-
  20221231xl0k.htm
  207 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 122
  208 The Unredacted Operating Co plaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 123
  209 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 124
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  496. On December 21st, 2022, James Wes Christian ( Mr. Christian ), an attorney representing
     Naked Truth Inc., drafted a cease and desist letter directed to Aron, dated December 21st, 2022.
     The letter was sent certified mail return receipt with the following tracking number
     70210350000053769545. According to the United States Postal Service tracking website,
     Aron was served with Mr. Christian s letter on December 30th, 2022 at 2:23 pm. Mr. Christian s
     letter reads in part,:


            According to our client, you have issued a press release stating there are no
            phantom shares of the Company (AMC) in the marketplace.


            Our legal team and experts have done due diligence on over 70 public
            companies over the last 20 plus years. After reviewing the publicly available
            data, we believe the data indicates the Company most likely has a large
            number of phantom shares of the Company in the marketplace.


            As such, we hereby demand you take immediate action to determine the
            number of real vs. phantom shares by hiring Share Intel (a shareholder
            intelligence company) who has patented software and methodologies that
            will determine if the wall street community has in its possession phantom
            shares of the Company or not.


            In the event you elect to not take this action, on or before the 28th, of January,
            it will be our obligation to hold the company accountable for what we believe
            is fraud on the Company and its shareholders.


  497. On December 22nd, 2022, AMC announced that it had, through a series of transactions,
     sold or agreed to sell 257,621,297 APEs to Antara at a weighted average price of $0,660 per
     APE. AMC filed with the SEC a Form 8-K Current Report (the December 8-K ), wherein the
     Company announced that it had entered into the Forward Purchase Agreement with Antara,
     pursuant to which AMC would


            (i) sell 106,595,106 APEs to Antara for an aggregate purchase price of
                    $75.1 million (the “Forward Purchase APEs ) and
            (ii) (ii) simultaneously purchase from Antara, on a private basis, $100
                    million aggregate principal amount of the Company’s 10%/12%
                    Cash/PIK Toggle Second Lien Notes due 2026 (the “Exchange
                    Notes ) in exchange for 91,026,191 APEs (together with the Forward
                    Purchase APEs, the “Private Placement APEs ). AMC disclosed that
                    immediately prior to entry into the Forward Purchase Agreement,
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                    Antara purchased 60 million APEs at a price of .58 cents for $34.9
                    million through the at-the-market program (the Initial APEs ). 210



  498. In the December 8-K, AMC further disclosed that, within 90 days, it would hold a special
      meeting of stockholders to solicit stockholder approval of amendments to the Certificate to:


           (i) increase the number of authorized shares of Co mon Stock to a
                   number at least sufficient to permit the full conversion of APEs into
                   Common Stock; and
           (ii) (ii) effect a 10-to-l reverse-stock split of the Common Stock. Per the
                   Company, Antara agreed to vote all its holdin s in favor of the
                  Amendments. 211


  499. The final results and execution of the APE ATM reveals a contradiction in Sean
      Goodman s July 20th, 2022 memorandum. The AMC Board opted not to take advantage of
     market conditions by selling APE at higher issuance prices ranging from $10 to $7. Instead,
     they waited for several months to sell the APE units, a distressed asset at the time, trading
     below $1. This choice aligns with the Project Popcorn scheme's strategy to maximize the
     impact on procuring votes. According to the December 8th, 2022, Derek Van Zandt email,
     Antara had $190 million to “invest . By entering into an agreement with Antara at 66 cents
     instead of $8, Antara received 275 million shares to cast 275 million votes. In contrast, selling
     shares at $8 would have given Antara only 23.75 million shares, equating to only 23.75 million
     votes insufficient to manipulate and rig the March 14th, 2023 vote outcome. According to
     SEC Filings the average selling price of APE in 2022 was $1.10.

  500. On December 22nd, 2022, AMC and APE opened at:


                         December 21st, 2022 AMC: $5.30 APE: $0,685
                         December 22nd, 2022 AMC: $4.14 APE: $1.23




  210 AMC Press Release Announcing Antara Deal. December 22, 2022. Link:
  https://investor.amctheatres.coin/newsroom/news-details/2022/AMC-Entertainment-Holdings-Inc.-
  Announces-110-Million-Equity-Capital- aise-a-100-Million-Debt-for-Equity-Exchange-and-a-Proposed-
  Vote-to-Convert-AMC-Preferred-Equity-APE-Units-Into-AMC-Common-Shares-and-Implement-a-
  Reverse-Stock-Split/default.aspx
  211 AMC Press Release. December 22, 2022. Link: https://investor.amctheatres.com newsroom news-
  details/2022/AMC-Entertainment-Holdings-Inc.-Announces-l 10-MiIlion-Equity-Capital-Raise-a-100-
  Million-Debt-for-Equity-Exchange-and-a-Proposed-Vote-to-Convert-AMC-Preferred-Equity-APE-Units-
  Into-AMC-Common-Shares-and-Implement-a-Reverse-Stock-Split/default.aspx
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  501. The APEs almost doubled from the previous day's close of $0,685. Remarkably,
      Antara has never been out of the mone with their December 21st, 2022 APE
       investment - the Forward Purchase Agreement with AMC.


                            Aron s Meet in Greet at Su ar Land, Texas


  502. On December 22nd, 2022 at 7 pm CST, Aron held a meet-and-greet event at First Colony
      24 in Sugar Land, TX for a special screening of BABYLON. After the movie, some AMC
      stockholders, including Blythe Weston, stayed behind to ask Aron some questions. Blythe
      Weston recorded her conversation with Aron, capturing the dialogue as follows:


         Aron: The common shares are the same thing.
         Blythe Weston: Okay.
         Aron: And there is no explaining it but the market has priced the APE at l/7th of
         the common share, and they are the same thing. So we are giving them away at l/7th
         of where we should. So it makes, so we got to put them back together.
         Blythe Weston: Right.
         Aron: And if you own the APE it s going to go up in value.
         Blythe Weston: Up in value.
         Aron: And as the company raises more capital in the future we will raise it at 3 or
         4 or 5 or 6 times the price we are getting them for, and this makes no sense but
         when we announced it today, the APE went up 75 percent.
         Blythe Weston: Right while my AMC went....
         Aron: Down, it went down 7, AMC went down 7 percent, but APES went up 75
         so that tells you the market knows that they have been playing games with us.


  503. On January 1st, 2023, at 7:17 pm EST, Aron finally addressed and responded to retail
      stockholders via Twitter, who had just discovered the connection between Mary-Catherine
      Lader, COO of Uniswap, a decentralized cryptocurrency exchange, and her father, Phillip
      Lader, who is a member of the board of AMC. Aron tweeted:


              So much GARBAGE info spreading about AMC by twisted conspiracy
             theorists. Our REAL challenge (among others): the industrywide domestic
             box office $11.4 billion in 2019 pre-pandemic. Only $7.4 billion in 2022. Up
             64% above 21, but 35% below 19. Our view: it grows in ‘23 & 24. 212

  504. Following Aron’s January 1st, 2023 Tweet, hundreds of AMC shareholders tweeted back
     at Aron expressing their frustration:


  212 CEO Adam Aron on X (formerly called twitter). January 1st, 2023. X.com
    Link: https://twitter.eom/CEOAdam/status/l609705346980876289
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           ©CEOAdam
            please answer the questions. Why is there a Morgan Stanley executive in the
           board of AMC? The same company naked shorting AMC into the ground.
           Why did you sell APE at .58-.66 knowing damn well they are worth more?
           Why the sudden need to raise cash?


           ©CEOAdam
            why is there a former Blackrock exec NoW COO of Uniswap and daughter
           of a MEMBER of the board of AMC even touching anything in relation to
           AMC? It s your best interest to ADDRESS the question and STOP
           redirecting


           ©CEOAdam
            it s time to address the elephant in the room. SHARE RECALL
           immediately! If you are truly for AMC and the investors this is the ONLY
           way to end this nonsense


           Share holders need answers about AMC Tokenized Stocks utilized through
           Uniswap, who's COO is the Daughter of AMC Board Member Lader. This
           needs to be addressed immediately.



  505. On January 10th, 2023, AMC and APE closed at:


                         January lO111, 2023 AMC: $4.06 APE: $1.39


  506. On January 30th, 2023, Billionaire Jim Chanos announced publicly on CNBC he was
     playing an arbitrage play on AMC and APE. Specifically, Chanos stated,


              So we are long the AMC preferred, the so called APE shares, and we
            have been bearish on the common for a long time, since the post meme
            stock run up, and Adam Aron to his credit is trying to raise capital, doing
            the right thing for the company. They realized this loophole last August
            where they could issue preferred shares, they couldn’t issue any more
            common, shareholders wouldn’t let them issue any more common, they
            find kind of a back door around that and did a big private placement with
            a private investor who agreed to vote shares on behalf of converting these,
            so whats going to happen is its going to be a shareholder vote in march.
            Filed the document on Friday night. Preferred shareholders can vote
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               common shareholders can vote we think there is enough votes to force
               conversion so one ape will become one share of AMC they are still trading
               about a $3 difference a classic arbitrage. 213



  507. On February 3rd, 2023, at 12:34 pm EST, Aron tweeted giving AMC Stockholders notice
     that:


               Important skills for a CEO are good judgement and good instincts. I took
              so much flack, and vitriolic personal insults, for not embracing tZERO. On
              Jan 10, the SEC censured and fined tZERO. Today, tZERO Crypto
              announced it will cease operations. So glad I stayed away from tZERO. 214

  508. Forty-seven minutes later, Marc Cohodes re-tweeted Aron s tweet stating,


             You are an idiot and dont know the first thing for which you speak.. Wait till it
             (sic) your tu you Asshat @CGasparino 215



  509. Also on February 3rd, 2023, APE conveniently traded for the first time above $3.00 since
     Antara and AMC executed the Forward Purchase Agreement.


                         February 3rd, 2023 AMC: $6.08 APE: $3.01

  510. On February 6th, 2023, Aron tweeted out to AMC stockholders, correcting his previous
      statement from his February 3rd, 2023 tweet regarding tZero, stating,


              “CORRECTING THE RECORD: I believe what I tweet should always be
              as accurate as I can make it. It turns out the SEC censured and fined tZERO
              on January 10 of 2022 a year ago not three weeks ago. Still, I want no
              part of them, because “censured and fined any time is not good.” 216




  213 CNBC Interview with Jim Chanos. January 30, 2023. Link to excerpt of video:
  https://www.reddit.eom/r/marketpredictors/comments/10q7t53/on_january_30_2023_in_an_episode_of_c
  nbcs_fast/
  214 CEO Adam Aron on X (formerly called twitter). February 3rd, 2023. X.com
    Link: https://twitter.com CEOAdam/status/1621562778598121474
  215 Marc Cohodes on X (formerly called twitter). February 3rd, 2023. X.com
    Link: https://twitter.eom AlderLaneEggs/status/l 621574561191067648
  216 CEO Adam Aron on X (formerly called twitter). February 6th, 2023. X.com
    Link: https://twitter.com/CEOAdam/status/1622498044439588864
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  511. On February 7th, 2023, the share issuances contemplated by the Forward Purchase
     Agreement occurred.


  512. As of February 8th, 2023, the record date for the Special Meeting, Antara owned
     258,439,472 APEs, representing approximately 17.8% of AMC s total voting power and
      approximately 27.8% of all outstanding APEs.


  513. AMC disclosed that Antara would vote its stock in favor of the Certificate Proposals, as
     contractually required, thus giving a sizeable head start for the FOR votes, especially due to
      the mirrored voting procedures.


  514. At the time, Antara owned 0 shares of Common Stock, making it highly economically
      incentivized to push through the conversion of APEs into Common Stock. 217


  515. As of the record date, AMC had 517,580,416 shares of Common Stock and 929,849,612
     APEs (representing 9,298,497 shares of Preferred Stock) issued and outstanding. AMC s
     creation and issuance of Preferred Stock with super-voting power (100 to 1), the Depositary
     Voting Requirement, and the steps taken as part of the Project Popcorn scheme to issue such a
      large number of APEs with the financial incentive for them to vote for the conversion,
     effectively usurped the voting power of the Company s Class A stockholders.


  516. On February 9th, 2023, the day after the record date for voting purposes, AMC and Antara
     agreed to a mutual waiver of the lock-up restrictions in the Forward Purchase Agreement,
     allowing Antara to sell up to 26 million APE units, and AMC to sell up to $100 million worth
     of additional APE units. Since the record date for the Special Meeting was February 8th, Antara
     was able to lock in a windfall and still vote all of its APE units in favor of the Certificate
     Amendments.218


  517. The reason behind this mutual waiver was concealed from AMC stockholders and was not
     publicly disclosed. It was part of the "quid-pro-quo" agreement between the AMC Board and
     Antara, as outlined in Derek Van Zandt's December 8th, 2022 email. The condition to lift the
     restriction was contingent on APE reaching a price above $3, which convenientl occurred
     on February 3rd, 2023, just three days from the record date.


  518. On Febmary 9th, 2023, AMC and APE closed at:



  217 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 144.
  218 Link: https.7/www.docketalarm.co /cases/Delaware State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 1 pages 8
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                         February 9th, 2023 AMC: $5.36 APE: $2.72


  519. Antara knew that a conversion of APEs into Common Stock would both provide a windfall
      to the holders of APEs and result in devastating value destruction for holders of Common
      Stock. Indeed, not only did Antara acquire a significant amount of APEs, as discussed herein,
      but it also simultaneously shorted the Company s Common Stock (Ticker: AMC). On
      February 16th, 2023, Antara disclosed, via a Form 4, that it had entered into a 2 million share,
      total return swap position for the synthetic short of AMC Common Stock. Thus, Antara is
      poised to profit not only from the appreciation in value for the APEs, but also the destruction
      of value for the Common Stock.


  520. At the time of the APE dividend, AMC did not face any crisis, existential or otherwise,
      that might justify radical action. The AMC Board nonetheless created and issued APEs to
      bypass the will of the holders of the Common Stock. 219


  521. Throughout the year, Aron kept trumpeting the strength of AMC. 220


  522. “In the March 1st, 2022 press release issued in connection with the Company s 2021
      financial results, Aron stated that (o]ur eco d year-end liquidity positions AMC well for
      continued recovery from the impact of CO VID and provides AMC with the financial flexibility
      to opportunistically grow and innovate as we seek to transform our business. He added that:


              “As we have repeatedly said, with the monetary ar chest that was
              provided to s by our shareholders in 2021, AMC is no longer on its
              heels. As COVID case numbers are finally declining and vaccination
              numbers increasing, as our operating results are markedly improving, and
              as our healthy liquidity allows, AMC is playing on offense again. 221


  523. “Aron repeated this mantra in the May 9th, 2022 press release issued in connection with the
      Company’s first quarter results, stating that “[o]ur results for the first quarter of 2022 represent
     AMC’s strongest first quarter in two full years. We continue on our pandemic recovery
     trajectory, more than quintupling revenues and improving adjusted EBITDA by nearly eighty
     percent compared to a year ago. Once again, he emphasized the Company’s strong liquidity


  219 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 132
  220 The Unredacted Oper ting Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 133.
  221 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 134.
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     position, noting that [AMC s] operating and capital allocation priorities remain unchanged:
      relish and guard our strong liquidity position.'' '222


  524. Aron continued on this path during the August 4th, 2022 earnings call, stating that
       [AMC s] results for the second quarter which were massively ahead of last year s second
      quarter, and exceeded market expectations for revenues, adjusted EBITDA and net income.
      He noted that [t]he second quarter was quite the success and our best second quarter in three
      years, and emphasized that AMC was recovering from the COVID-19 pandemic quite well,
      with [AMC] generat[ing] positive operating cash too in the second quarter of 2022 of $52
      million, seeing a 2.5x increase in movie goers from the second quarter in 2021 and “positive
      adjusted EBITDA of $107 million in the second quarter of 2022, a $258 million improvement
      over that figure in Q2 of 2021. 223


  525. None of AMC’s “inte al documents produced pursuant to 8 Del. C. § 220 indicate that
      AMC faced bankruptcy or any other existential threat. AMC may have a considerable amount
      of debt, but Aron has recently touted the movie industry’s prospects, claiming that a 35%
      increase in the number of movies to be released in 2023 will provide a path to eventual
      pandemic recovery. 224


  526. “The [AMC] Board documents also do not indicate that the [AMC] Board meaningfully
      considered any alternatives to APEs and running roughshod over the wishes of the holders of
      the Common Stock while economically diluting them. For example, materials from the May
      4th, 2021 and November 3rd, 2021 Board meetings reflect that all of the options the Board
      considered to restructure its balance sheet contemplated selling stock. 225


  527. Indeed, AMC was in such a non-precarious financial position that it went out and bought
      a gold mine, as discussed above. That the Company had the financial ability to invest outside
      its core competency begs numerous questions concerning why mana ement is so
      determined to increase AMC s share count. 226




  222 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 135.
  223 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 136.
  224 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 137.
  225 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 138.
  226 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 139.
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  528. On February 10th, 2023 at 3:40 pm, Aron tweeted to AMC stockholders stating,


              Twitter is an incredibly powerful communications vehicle, but sadly it can
             also be a cesspool of scurrilous attack. I receive so much praise (not all of it
             deserved), but also venomous untruths are hurled my way. My view: Rise
             above and ignore the hate, just do what is right! 227


  529. That afternoon, hundreds of AMC stockholders responded calling out Aron s tweet, stating


             We communicated with you for two years what was being done with the
             stock, you ignored us, gaslit us, and told us our ideas were illegal as other
             CEOs went through with them. You deserve worse than vitriol, you deserve
             to be investigated.


             You just can t handle people not blindly following you anymore. This week
             was inexcusable and yet you still make gaslighting tweets like this. I hope
             you are doing what’s in the best interest for share holders but experience is
             one hell of a teacher.


             Unreal. How? How are you the CEO. You can't be writing all your tweets. It
             translate like: People are being mean because they've uncovered my hidden
             agenda and connections to short hedge funds.


             YOU RIPPED INVESTORS OFF NO (sic) WANTED APE OR REVERSE
             SPLIT, WE WANTED ACCURATE SHARE COUNT WHICH YOU
             CANT EXPLAIN, INVESTORS DONT WANT YOU AS OUR CEO

  530. After being called out by AMC retail investors on Twitter for thirty minutes, Aron tweeted
      again in response to the exposure,


              It continues to astound and confound me that some out there hypothesize
             that I am not on the side of retail investors. I will say it over and over. I own
             or have an economic interest in millions of AMC shares and APE units. I am
             a retail shareholder. Of course I am on your side! 228




  227 CEO Adam Aron on X (formerly called twitter). February 10th, 2023. X.com
    Link: https://twitter.eom/CEOAdam/status/l 624146363561742379
  228 CEO Adam Aron on X (formerly called twitter). February 10th, 2023. X.com
    Link: https://twitter.com/CEOAdam/status/1624153851573010438
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 47 of 92 PageID #:
                                    1712


  531. Once gain AMC retail investors took to Twitter to expose Aron,


             Didn t you have shares in that resort you destroyed in the Caribbean when
             you were CEO? I see a pattern. You re on your side @CEOAdam
             With friends like you who the hell needs enemies!


             Your a con man and a grifter. You managed to monetize retail investors
             contempt for the Man and milk it for tens of millions. Your a despicable
             excuse for a CEO ... at least use your ill gotten gains to purchase a better
             wig!

             HOW SO?? DID U ASK RETAIL TO HELP GET #AMC OUT OF DEBT??
             DID U ADDRESS THE FTD S? DID U COMPLETE A SHARE COUNT?
             WHY KEEP DILUTING #AMC STOCK WHEN NOT NECESSARY?
             WHY ALLOW BANKS AND HF'S TO NAKED SHORT OUR STOCK?
             WHICH ONE OF THE ABOVE DOES "U BEING ON OUR SIDE"
             IDENTIFY?

             Tell us the truth ! Why you didn’t rise capital selling APE to retail before
             going to Antara ? Good start.


             U screwed us dude. Everyone knows it. Your shares are given to you and you
             cashed in 2 million of your other earned shares. We are not stupid.


             Isn’t it incredibly SUS when other CEO’s are vocal about naked shorts and
             our beloved CEO Lord Adam is dead silent about that?

            then why would you want a stock split, that usually a recipe for disaster as
            most stocks go back to the original price or lower


  532. Six minutes later, Aron once again tweeted in response to being called out by AMC retail
      investors, following years of hearing lip service,


            “It may boil down to this. Many of you are frustrated, strongly urging us to
            address market forces that you are convinced are unfair. We continuously
            think about what actions would be wise and CREDIBLE. Certainly good
            ideas: Build up our cash reserves and smartly lead AMC forward. 229




  229 CEO Adam Aron on X (formerly called twitter). Feb ary 10th, 2023. X.com
    Link: https://twitter.com/CEOAdam/status/1624155466866606080
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 48 of 92 PageID #:
                                    1713




  533. Once gain AMC retail investors took to Twitter to expose and call out Aron, stating


            Why didn t you give retail a chance to buy the debt? There are many of us
            that would buy 10 s of thousands more shares if you offered this. However,
            you are further diluting for Fennie s on the dollar. Dragging your feet with
            popcorn and the credit card. WHY?


            Dilution was voted down. You did it anyway using ape. Then you sold 28%
            of Ape float for $0.66/share, only raised $360 mil while retail watched the
            price drop from $10 to $0.60. AND you refuse to address unfair market
            forces. Frustrated is an understatement


            Partner with @rogerhamilton
            he’s fighting #NakedShorts hard. Adam you’re not even admitting there is
            naked shorting let alone fighting to help us. I’m an investor in both companies
            and Roger is protecting his investors. Follow his lead please.


            What’s not CREDIBLE is your repeated denial that synthetic shares don’t
            exist.


           We have evidence that $AMC is at the top of the list of the most manipulated
            stocks in the US Stock market. In NOV 2019, during an interview following
            Q3 19 Ea ings report, you acknowledged shortselling being used to
           suppress #AMC’s price. The fact is, it has never stopped!


  534. On February 11th, 2023, at 9:44 am, Benjamin Chuchla, an investment analyst at Antara,
     sent an email titled - AMC Debt Capacity, to Himanshu Gulati and Chetan Bansal. Chetan
     Bansal joined Antara in early 2020 and serves as Partner and Co-Head of Investment Research.
     The email reads,


          H- we've done some detailed write ups on this which I can pass along if you
         would like But in summary, available debt capacity without any votes /
         amendments should be

            • About $300 m senior lien debt (could be IL or 1.5L)
            • $50m of non-guarantor restricted subsidiary debt
            • $150m Pari 2L debt. Can do up to 200 total but only 150 can be secured
            • $75m Pari 2L debt only if used to refinance the unsecured and only if that
                refinancing occurs below 55c
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                                    1714




          And of course if the 2L amend their absolute provision on unrestricted
          investments, all bets are off to the tune of 2.25bn+ of investment capacity. 230



  535. Contemporaneously, Himanshu Gulati responds to Benjamin Gulati s email stating,


                   Call me ben (sic)

                  Thanks 231


  536. The emails from Antara reveal that AMC had alte ative options to enhance liquidity, aside
      from issuing the dilutive APE units. One such option was amending their 2L debt agreements,
      which could have provided over $2.25 billion in liquidity a considerably larger amount than
      what was raised through the APE units.


  537. Later that night, at 10:22 pm EST, Aron tweeted to AMC stockholders, stating


              Yesterday I tweeted an “M by mistake, but many of you thought I was
             being less than candid in the denial, and that the M must have meant
             something. Nope, just a tweeting error. But today I am tweeting this, and it
             does mean something: “Y              232



  538. Subsequently, AMC retail investors responded stating,


             He s saying vote Yes to more dilution and shorts continuing to be able to
             manipulate the stock. Doesn’t matter anyway the vote is BS just an ancient




  230 Rose Izzo’s lawyer later supplemented the record with documents referenced in their objection and
  approved to release publicly from discovery, this document contains 2 related emails from Antara. Link:
  https://www.docketalarm.com/cases/Delaware State Court of Chancery/2023-
  0215/IN E AMC_ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LIT1GAT10N/919532
  83/91953284/

  231 Rose Izzo’s attornet later supplemented the record with documents referenced in their objection and
  approved to released publicly from discovery, this document contains 2 related emails from Antara. Link:
  https://www.docketalarm.com cases/Delaware State_Court_of_Chancerv/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS _INC, STOCKHOLDER LITIGATION/919532
  83/91953284/

  232 CEO Adam Aron on X (formerly called twitter). February 10th, 2023. X.com
    Link: https://twitter.com/CEOAdam/status/1624609962428346369
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 50 of 92 PageID #:
                                    1715


             devisive tactic to make the people fight amongst each other. Apes were
             together until this vote stuff came along.


             The reverse and merger will bring the price back to the January 21 squeeze
             price accept this time you will own lOx less shares! Shorts get to cover and
             you gain 0 value. Meanwhile AA eats popcom and tells you to feel good
             about heartbreak! The ultimate troll!


             "Y" won't you respond to the Roger Hamilton, the CEO of Genius Group?
             "Y" are you helping hedgefunds and screwing over shareholders? Don't ask
             "Y" when lawsuits are filed against you for failing to uphold your fiduciary
             duties to us shareholders.


             Adam, "Y" is IMAX currently at $16.37 share and AMC currently at $4.43
             per share? "Y" don't you explain to your shareholders how you personally,
             and deliberately destroyed their financial futures. Many shareholders are not
             stupid, unlike some others. We know you're screwing us!


  539. On February 14th, 2023, AMC issued its Definitive Proxy Statement advising of a Special
      Meeting of stockholders scheduled for March 14th, 2023 where stockholders will vote on the
      following proposals:


             Proposal No. 1: To approve an amendment to the Charter to increase the total
             number of authorized shares of Class A common stock from 524,173,073
             shares to 550,000,000 shares;
             Proposal No. 2: To approve an amendment to the Charter to effectuate a
             reverse stock split at a ratio of one share of Class A common stock for every
             ten shares of Class A common stock, which together with the increase in the
             number of authorized shares of Class A common stock, shall permit the full
             conversion of all outstanding shares of Preferred Stock into shares of Class
             A common stock.233


  540. In the Proxy, AMC disclosed that, for the Certificate Proposals to cany, each requires the
      affirmative vote of at least a majority of the outstanding Common Stock and Prefeired Stock,
      voting together as one class. 234




  233 Link: https://www.sec.gov/Archives/edgar/data/1411579/000110465923020458/tm232700-
  2_defl4a.htm
  234 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 141.
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 51 of 92 PageID #:
                                    1716


  541. AMC also disclosed that, consistent with the Deposit Agreement, Computershare would
       will vote the . . . Preferred Stock represented by such non-voting APEs proportionately with
      votes cast FOR, AGAINST, or ‘ABSTAIN’ pursuant to instructions received from the other
      APE holders. Additionally, the Proxy belatedly disclosed:

             Under the terms of the deposit agreement, if the Depositoiy does not receive
             timely voting instructions with respect to any Series A Prefer ed Stock
             represented by APEs, including broker non-votes, the Depository will vote
             the Series A Preferred Stock represented by such non-voting APEs
             proportionately with votes cast FOR, AGAINST, or ABSTAIN
             pursuant to instructions received from other APE holders.




             Broker non-votes of APEs will be treated by the Depositary as not having
             been voted, and under the terms of the deposit agreement, the Depositary will
             vote the Series A Preferred Stock represented by such non-voting APEs
             proportionately with votes cast pursuant to instructions received from the
             other APE holders. 235


  542. The Proxy confirms that the Deposit Agreement allows Computershare to vote APEs that
      otherwise would be treated as broker non-votes, as well as APEs that are not even present at a
      meeting, on this mirrored basis. As such, the Deposit Agreement effectively allows the
      Company to sidestep the New York Stock Exchange ( NYSE ) prohibition on brokers voting
      uninstructed shares on non-routine proposals, such as each of the Certificate Proposals to be
      voted on at the Special Meeting. 236


  543. Additionally, because the Certificate Proposals require approval of at least a majority of
      AMC’s outstanding shares, each proposal needs at least 723,715,015 affirmative votes to carry.
      Absent the provision in the Deposit Agreement allowing Computershare to vote the Preferred
      Stock represented by the [APEs] proportionately with votes cast pursuant to instructions
      received from the other Holders, any share that is not an affirmative vote would have the
      practical effect of an against vote because such vote would not count towards a majority of
      the Company’s shares. This would ordinarily include against votes, abstentions, uninstructed
      equity units, or equity units absent from the Special Meeting altogether. 237


  235 The Un edacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 145.
  236 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 146.
  237 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 147.
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  544. Through the Deposit Agreement, however, the AMC Board will cause Com utershare to
     vote certain of these votes for the Certificate Proposals. Thus, by giving Computershare the
     ability to cast votes for APEs even if their holder does not provide voting instructions or show
     up to vote, the AMC Board is making the APE portion of the vote effectively a majority of
     votes cast standard. 238


  545. And because of the Forward Purchase Agreement with Antara, the AMC Board has
     already guaranteed that at least 27.8% of the APEs that will be present at the Special Meeting
     will be voted for the Certificate Proposals. 239


  546. While the APEs were designed to be identical to shares of AMC s Common Stock, they
     have been trading at just a fraction of the price. On February 14th, 2023, AMC s Class A
     common stock and APES closed at:


                          February 14th, 2023 AMC: $4.50 PE: $2.34


  547. As a result, it is in an APE holder s self-interest to vote in favor of the aforementioned
     proposals. And the number of APE holders entitled to vote is nearly double the number of
     common stockholders. Combined with Antara’s agreement to vote all of it shares in favor of
     the proposals and the Depositary Voting Requirement contained in the Deposit
     Agreement AMC’s Board has ensured that it will receive an increase in the total number of
     authorized shares of common stock it can issue regardless of what the common stockholders
     want.


  548. The common stockholders voting rights were adversely affected by these actions, they have
     not been provided with a vote as a class, and their voting rights have been usurped by the AMC
     Board’s actions.


  549. Between creating the economic incentives at play, arranging for Computershare to vote
      absentee and uninstructed APEs on a pari passu basis, and locking up Antara’s voting
      commitment, the AMC Board has effectively rendered approval of the Certificate Proposals a
      fait accompli.


  550. Upon careful analysis, it becomes evident that AMC devised a cunning plan to convert all
      the maximum possible 5 billion APE units into AMC Common Stock, thereby subjecting

  238 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 148.
  239 The Unredacted Operating Complaint (Munoz and Franchi) for Consolidated C.A. 2023-0215-MTZ
  (Del. Ch.) case. See paragraph 149
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     AMC Common Stockholders to astronomical future dilution. This covert strategy revolves
     around the implementation of a 10:1 reverse stock split in conjunction with the amendment of
     the authorized amount of AMC common shares to 550 million after the reverse split takes
     effect. It is crucial to grasp the implications of this maneuver. While the number of outstanding
     AMC common shares will decrease by a factor of 10 to approximately 51.68 million, this little
     fraction will represent a mere 9.4%240 of the newly authorized shares of 550 million.
     Simultaneously, the conversion of around 92.4 million APE shares into AMC common will
     result in a new float of approx. 144.8 million outstanding AMC shares. Astoundingly, this
     leaves a staggering 405.2 million shares authorized for further dilution, effectively granting
     Aron and the AMC Board immense power to further significantly dilute the ownership of
     existing shareholders. The calculation of these figures is not a mere coincidence. It is notable
     that 405.2 million shares correspond to approximately 4.052 billion shares or units before the
      10:1 reverse stock split, aligning precisely with the 4 billion APE units that were not created
     and issued, with the remaining 40 million AMC preferred shares coming into play.


  551. On Febr ary 17th, 2023 at 1:14 pm, Sean Goodman drafted an email to Eddie Gladbach,
     and cc d Aron and Keven Connor with the subject title Tracking the Vote stating,


                       “Hi Eddie,


                       Can I ask you to send a daily vote tracker to us so that
                       we can monitor the progress of the vote? Thanks very
                       much.


                                                                       Sean 241



       February 20th, 2023 Two Class Actions Lawsuits are filed against the AMC Board and
                                         Former Board Members


  552. On February 20th, 2023, at 4:09 pm EST, ACER filed its class action complaint in the
     Chancery Court in the state of Delaware, asserting claims for breach of fiduciary duty and
     violation of 8 Del. C. § 242(b)(2), declaratory, injunctive and equitable relief against AMC,
     Aron, current and former Board members Howard Koch, Kathleen Pawlus, Anthony Saich,
     Philip Lader, Gary Locke and Adam Sussman.



  240 516,820,595 / 10 = 51,682,060; 51,682,060 / 550,000,000 = 0.094 = 9.4%; See also SEC Filing DEF
  14A, Page 25, Annex A, Source:
  https://www.sec.gov/Archives/edgar/data/1411579/000110465923020458/tm232700-2 defl4a.htm
  241 Link: htt s://www.docketalarm.com/cases/Delaware State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 37 page 928
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  553. Also on February 20th, 2023, at 4:47 pm EST, retail investors Munoz and Franchi filed
     their class action complaint in the Chancery Court, asserting a claim for breach of fiduciary
     duty and seeking to enjoin the APEs from voting at the Special Meeting against Aron, current
     and former Board members Denise Clark, Howard Koch, Philip Lader, Gary Locke, Kathleen
     Pawlus, Keri Putnam, Anthony Siach, Adam Sussman and Lee Wittlinger.


  554. The two class action complaints were filed 38 minutes apart.


  555. The Franchi and Munoz public verified complaint, filed on the Chancery Court docket,
     contains 27 redacted averments and exhibits. These redactions are a result of records
     produced in response to a demand made under 8 Del. C. § 220.


  556. The three plaintiffs, Franchi, Munoz and ACER sought expedited treatment of their
     requests for injunctive relief, which was scheduled to be heard on February 23rd, 2023.


  557. On February 20th, 2023 at 10:28 pm, Eddie Gladbach drafted an email to Sean Goodman,
     and cc d Aron, Keven Connor and John Merriwether with the subject title RE: Tracking the
     Vote stating,


                        See attached for preliminary vote details.
                       Shares Voted:
                      AMC 64.5 million
                      APE 141 million
                      Percentage Voting For Proposals:
                      AMC 77%
                      APE 90%
                      Co bined 86%

                      Eddie 242



  558. On February 22nd, 2023 at 12:53 pm, Eddie Gladbach drafted an email to Sean Goodman,
     and cc d Aron, Keven Connor and John Merriwether with the subject title RE: Tracking the
     Vote stating,




  242 Link: https://www.docketalann.com/cases/Delaware State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT_HQLDINGS_INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 37 page 928
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 55 of 92 PageID #:
                                    1720



                        Updated preliminary voting results as of noon today
                       are attached and summarized below:
                       Shares Voted:
                       AMC 81.9 million out of 517,580,416 (15.8%)
                       APE 165.2 million out of 929,849,612 (17.8%)
                       Percentage Voting For Proposals:
                       AMC 75.9%
                       APE 88.4%
                       Combined 84.3%
                       Eddie 243




                                The NYSE is Given Written Notice



  559. On February 23rd, 2023, AMC shareholder Brian Tuttle (“Brian Tuttle ), drafted an email
      with the subject titled: NOTICE OF BREACH OF NYSE AMERICAN COMPANY
      GUIDE SECTION 122, and emailed the NYSE, to the following two email accounts,
      ListingManager@nyse.com and nysealert@nvse.com, stating,


          Please be advised:


                   YOU ARE HEREBY NOTICED OF THE FOLLOWING:

         AMC Entertainment Holdings, Inc (NYSE: "AMC"NYSE:"APE") is in breach of
         NYSE American Company Guide Section 122, as grounds the undersigned states
         as follows:
          1. On July 28th, 2022, the AMC Entertainment Holdings, Inc board of directors
         issued 10,000,000 shares of Preferred Stock.
         2. On August 4, 2022, AMC amended its Certificate of Designations granting super
         voting powers to the Preferred Stock. Each Preferred Share was designed to be
         equivalent in voting rights to 100 Common Shares. The amendment to the
         Certificate of Designations was done so without the authorization of shareholders
         as required by Section 242 of Delaware General Corporate Law.
         3. By definition the Preferred Stock issued is "Super Voting Stock".



  243 Link: https://www.docketalarm.com/cases/Delaware State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATIQN/918026
  42/ Exhibit 37 page 927
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 56 of 92 PageID #:
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         4. The Certificate of Designations also establishes a conversion rate that allows for
         the Preferred Stock to be converted to common shares.
         5. NYSE American Company Guide Section 122 provides:


                [VJoting rights of existing shareholders of publicly traded common
               stock registered under Section 12 of the Exchange Act cannot be
               disparately reduced or restricted through any corporate action or
               issuance. Examples of such corporate action or issuance include, but
               are not limited to, the adoption of time-phased voting plans, the
               adoption of capped voting rights plans, the issuance of SUPER
               VOTING STOCK, or the issuance of stock with voting rights less than
               the per share voting rights of the existing common stock through an
               exchange offer. (emphasis added)


         6. The NYSE Company Guidelines explicitly state a Super Voting Stock class
         cannot be eligible to convert into a lower voting class, as is the case here.


         WHEREFORE, paragraphs 1-6 establish AMC Entertainment Holdings, Inc has
        breached NYSE American Company Guide Section 122.


          NYSE was previously noticed, by the undersigned, on 2/20/2022 that AMC
         Entertainment Holdings, Inc was in breach of Rule 312 of the NYSE Company
        Manual. (A copy of that email is herein incorporated below).


        Accordingly, the NYSE exchange must act to protect the interests of investors
        relying on the NYSE to govern corporations trading on the NYSE exchange. The
        immediate de-listing of AMC Entertainment Holdings, Inc equity securities is
        necessary to protect those interests.


                                        Respectfully submitted,


                                        Ad Hoc Committee of AMC Common Stock Holders


                                        B. Tuttle


  560. On Febmary 23rd , 2023 at 12:32 pm, Eddie Gladbach drafted an email to Sean Goodman,
     and cc d Aron, Keven Connor and John Merriwether with the subject title RE: Tracking the
     Vote stating,


                       Updated preliminary voting results as of noon today
                      are attached and summarized below:
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                       Shares Voted:
                       AMC 90.5 million out of 517,580,416 (17.5%)
                       APE 242.7 million out of 929,849,612 (26.1%)
                       Percentage Voting For Proposals:
                       AMC 77.0%
                       APE 91.7%
                       Combined 87.7%

                       Eddie 244



  561. On February 24th, 2023 at 2:01 pm, Eddie Gladbach drafted an email to Sean Goodman,
     and cc d Aron, Kevin Connor and John Merriwether with the subject title RE: Tracking the
     Vote stating,

                       “Updated preliminary voting results as of noon today
                       are attached and summarized below:
                       You will notice that there was a large jump in APE votes
                       today. That is because Antara has voted their shares
                       held at Computershare. Privileged - Redacted
                       Adam, during your call with VPs this afternoon, you
                       may want to remind them all to be sure to vote their
                       shares.
                       Shares Voted:
                       AMC 94.2 million out of 517,580,416 (18.2%)
                       APE 445.7 million out of 929,849,612 (47.19%)
                       Percentage Voting For Proposals:
                       AMC 76.8%
                       APE 95.22%
                       Combined 92.0%

                       Eddie” 245




  244 Link: https://www.docketalaiTn.com/cases/Delaware State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATIQN/918026
  42/ Exhibit 37 page 927
  245 Link: https://www.docketalarm.com/cases/Delaware_ State_Court_ of Chancery/2023-
  0215/IN RE AMC_ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 37 pages 926-927
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 58 of 92 PageID #:
                                    1723


  562. Eddie Gladbach's February 24th, 2023,2:01 pm email notifies Sean Goodman, Aron, Kevin
     Connor, and John Merriwether that Antara has voted their APE shares held at Computershare
     on that day, resulting in a significant increase in APE votes. The difference between the APE
     votes cast on February 24th, 2023 (445.7 million out of 929,849,612, or 47.19%) and Feb ary
     23rd, 2023 (242.7 million out of 929,849,612, or 26.1%) indicates that Antara may have only
     casted 203 million votes out of the 258,439,472 million shares the owned during this
     period (or it is possible votes were divided were cast at separate times by Antara or Antara
     affiliated funds).

  563. On Febr ary 27th, 2023, the presiding judge over the Franchi, Munoz and ACER matter,
     Judge Zurn, entered the Status Quo Order, which, among other things, allowed AMC to hold
     the Special Meeting and solicit and tabulate any votes in connection therewith but prevented
     AMC from effectuating the Certificate Amendments if and once they were approved (i.e. the
     Reverse Split and Conversion). A preliminary injunction hearing was set for April 27th, 2023,
     and the hearing that was scheduled for March 10th, 2023 was canceled.


  564. With Judge Zum entering the Status Quo Order, she basically allowed the Special Meeting
     vote to proceed without ensuring that AMC and APE stockholders had access to essential
     information, including discovery documents and access to the 27 redacted averments from the
     Franchi and Munoz complaint, along with exhibits. Judge Zurn s decision es entially
     ensured that AMC shareholders voted blindly on the proposals that directly affected
     their investment.


  565. On February 27th, 2023 at 1:14 pm, Eddie Gladbach drafted an email to Sean Goodman,
     and cc d Aron, Kevin Connor and John Merriwether with the subject title RE: Tracking the
     Vote stating,


                           Updated preliminary voting results as of noon today
                          are attached and summarized below:
                          Not a lot of change from Friday.
                          Shares Voted:
                          AMC 97.8 million out of 517,580,416 (18.9%)
                          APE 450.2 million out of 929,849,612 (48.4%)
                          Percentage Voting For Proposals:
                          AMC 76.7%
                          APE 95.1%
                          Combined 91.8%
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                                    1724


                      Eddie 246


  566. On February 28th, 2023 at 1:03 pm, Eddie Gladbach drafted an email to Sean Goodman,
     and cc d Aron, Keven Connor and John Merriwether with the subject title RE; Tracking the
     Vote stating,


                        Updated preliminary voting results as of noon today
                       are attached and summarized below:
                       Shares Voted:
                       AMC 100.7 million out of 517,580,416 (19.5%)
                       APE 454.9 million out of 929,849,612 (48.9%)
                       Percentage Voting “For Proposals:
                       AMC 76.3%
                       APE 94.9%
                       Combined 91.5%

                       Eddie 247



  567. On February 28th, 2023, Daniel Meyer, one of the Lead Counsel for ACER, Franchi and
     Munoz effectuated service on the AMC Defendants with their first set of requests for the
     production of documents via File & Serve Xpress in the 2023-MTZ -215 and 2023-MTZ -216
     matter.


  568. Also on February 28th, 2023, Michael Barry, one of the Lead Counsel for ACER, Franchi
     and Munoz effectuated service on the following third parties, Citigroup Global Markets Inc.,
     AMC s financial advisor, and D.F. King & Co., Inc., AMC s proxy advisor, with subpoenas
     duces tecum and ad testificandum.



   February 28th, 2023 Earnings Call Adam Aron's Seven Reasons to Vote Yes on the Three
                                         Proposals

  569. On February 28th, 2023, AMC hosted an earnings call. Aron concluded the earnings call
     by addressing the March 14th, 2023 Special Stockholders Meeting stating,


  246 Link: https://www.docketalarm.com/cases/Delaware State Court of Chancery/2023-
  0215/IN RE _AMC_ENTERTAINMENT_HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 37 page 926
  247 Link: https://www.docketalai .com/cases/Delaware_State Court _of_Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS _INC._STOCKHOLDER LITIGATION/918026
  42/ E hibit 37 page 925
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 60 of 92 PageID #:
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         To that end, I'd like to utilize the remainder of my formal remarks today to discuss
        the upcoming March 14 Special Stockholders' Meeting and the importance of the
        proposals on which our shareholders are already voting. Last August, we issued
        516,800,000 APE preferred equity units as the dividend to holders of our AMC
        common shares on a one-for-one basis. The primary goals of issuing the dividend
        was to provide AMC with a new currency that could be used to strengthen our
        balance sheet by generating cash, bolstering our liquidity to reduce our debt, and to
        allow us to grow. And that is precisely what the APE units have done. Since
        September of 2022, the creation of APE units resulted in AMC successfully raising
        $314 million of gross cash proceeds and allowed us to reduce the principal balance
        of our debt by more than $221 million, most of which was profitably repurchased
        at a substantial discount. Indeed, AMC is unequivocally a stronger company today
        as a result of the creation of the APE dividend, and it's allowing us to raise cash and
        reduce debt. I might add that came amid a lot of press speculation that we'd be
        unsuccessful in doing so. To the naysayers and doom tellers, you know what I say,
        choke on that. However, despite having the same economic and voting rights as
        our AMC common shares, APE preferred equity units have consistently traded at
        a mysterious and substantial discount to AMC co mon shares. This discount
        creates inefficiencies that increases our cost of capital and causes unnecessary and
        preventable dilution. So, after careful thought, the AMC Board of Directors is
        presenting important proposals for shareholders to vote on at the upcoming special
        meeting on March 14, 2022. These proposals are designed to protect the long-term
        value of a shareholders' investment in AMC while still providing AMC with the
        flexibility necessary to continue along our recovery trajectory in a challenging
        environment. As you already know, the two key proposals are to, one, increase
        the number of authorized AMC common shares from 524 million to 550 million
        and combine the AMC common shares and APE preferred units; second, to effect
        a reverse stock split of one share for every 10, which, together with the increase in
        authorized common shares permits that automatic conversion of APE units into
        AMC common stock. Our board and I strongly believe that's in the best interest
        now of AMC shareholders to convert APE units into AMC common shares, thereby
        simplifying our capital structure and eliminating the gap between the prices of APE
        units and of AMC shares. As AMC's single largest individual shareholder with
        millions of AMC shares and APE units. I have a vested interest in the outcome of
        this election because my net worth rises as AMC strengthens and my net worth falls
        as AMC gets weaker. I currently own outright some 3.7 million AMC shares or
        APE units and have a further economic interest and an additional 4.5 million APE
        units or AMC shares as a result of granted but unvested stock. In total, I have some
        8.2 million AMC shares or AMC units. You know what that means? It means that
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        my interests are directly aligned with those of our shareholders. I am not so e
        hedge fund plan or Trojan Horse as a few of the more bizarre conspiracy
        theories o. I'm on the side of the retail investor because I am myself a retail
        investor. And I'd like to share with you the seven reasons why I have voted yes,
        voting for the proposals that are being recommended by the board. Before I do so,
        however, I should point out that litigation has been brought in the Delaware Court
        of Chancery attempting to block our shareholder proposals, and you are right to
        vote on them. We believe such litigation is without merit, that our actions have
        been totally lawful and consistent with our charter, and we will vi orously
        defend our position in this matter. The court has ordered that the March 14 vote
        shall take place on schedule, but then any implementation action resulting from the
        vote be held in advance until the court rules on the substance of the claims being
        made. So, the vote is on, and it is on now. I urge our shareholders to vote now so
        that your voice can be heard. And because I think it's the right thing for me to do
        and for you to do. I urge you to vote for the proposals with me. Here's why. First,
        a more resilient AMC. Having the flexibility to efficiently and opportunistically tap
        both the equity and debt capital markets results in a more resilient company. Were
        it not for our ability to have raised both equity and debt over the past three years,
        AMC would not have survived the pandemic that caused a material decline in our
        business activity. Second, reduced capital raising inefficiencies associated with
        APE units trading at a discount to AMC shares. Converting APE units to AMC
        shares will result in a single price for all AMC equity. This single price eliminates
        the inefficiency inherent in the discount between APE units and AMC common
        stock and will allow AMC to more efficiently raise equity capital at the most
        attractive terms in the future. Third, enhance the ability to raise cash and increase
        liquidity. While I believe AMC is currently in a strong liquidity position with more
        than $840 million of available liquidity at the end of December 22, the ability to
        efficiently raise additional liquidity when needed has proven to be critical for this
        company in the past. And depending upon the path and timing of recovery may be
        critical to our survival, again, in the future. Fourth, strengthen AMC's balance
        sheet. AMC's balance sheet is expected to strengthen over time as the box office
        grows. At the same time, as we have demonstrated in recent months, there continue
        to be attractive opportunities for us to use available equity or equity proceeds to
        buy back debt or exchange debt for equity at a discount to face value, which greatly
        benefits shareholders. Fifth, simplify ownership in AMC. Consolidating ownership
        of AMC into one single class for all shareholders eliminates the added complexity
        that some brokerages have imposed on their clients in the holding or trading of our
        preferred equity securities. In addition, the single class of equity eliminates the
        potential for hedge funds or other investors to engage in arbitrage trading strategies
        between the APE and AMC securities. Sixth, position AMC to transforoa into a
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        stronger, more diversified company. A single equity class will better allow us to
        pursue attractive shareholder value creation opportunities to diversify and to
        transform our business. And last, seventh, create long-term value for AMC. A vote
        for the resolutions is a vote in favor of the long-term value of AMC. Since we
        announced our intention to hold a shareholder vote to convert APE units into AMC
        shares, the total equity value of our company has increased. The other matter of
        consequence being discussed at the March 14 shareholder meeting is the one for
        tender of our stock split. So, let me quickly address that topic. If you have 10 $1
        bills in your pocket and you exchange them for 1 $10 bill, you still have $10 either
        way. If you would have 10 $10 bills in your pocket, and you exchange them for 1
        $ 100 bill, you'd still have $ 100 either way. This reverse split in and of itself should
        be neutral. However, for a variety of reasons, including the technical listing rules
        of stock exchanges, we think it's unwise for our shares to be trading at levels in the
        single digits. The reverse split also creates room to allow for the full conversion of
        APEs into common stock, which we also think is a good idea for each of you, as I
        previously explained, and creates the capacity for common stock to be issued
        adds equity in the future. In my view, I believe that there is no compelling
        argument why our shareholders should enerally be averse to reverse stock
        split. As I stated earlier, having the flexibility to continue to raise capital as we
        navigate through our recovery is crucial to AMC's future success and has thus far
        kept us from the state of several of our competitors who have been forced to seek
        bankruptcy protection. Where we to be (sic) somehow the pride of this cash-raising
        capability, our future may not nearly be so bright as it appears currently. Indeed,
        our future could turn quite bleak in just a blink of an eye. I cannot emphasize
        enough that while things are looking up now, our success could literally vaporize
        in an instant if we misstep. The reason we have succeeded to date is that in our
        opinion, we have threaded the needle perfectly heretofore during this pandemic.
        But make no mistake, the need to continue to thread the needle perfectly going
        forward is unchanged at AMC Entertainment. Fortunately, we're pretty good at
        this. And we've been at it a while and we know what we're doing. I know I have
        about 3 million or 4 million friends out there who like to give me advice. But I'd
        like to remind you, we've done a pretty good job of stewarding this company during
        tough times. Avoiding a dire fate is a commitment that I personally made to our
        shareholders in the earliest days of this global pandemic when our revenues went
        to zero overnight and stayed there for months. I remain steadfast in that
        commitment to you today. Every action that AMC has taken is in direct support of
        that commitment. Despite what the naysayers or the short sellers of those that wish
        us harm would have you believe, our mission now is clear. And it's the same exact
        cause that so many of our shareholders joined and embraced way back in the dark
        days of 2020 and early 2021. You all remember the hashtag, Save AMC. That's the
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          report for Q4 2022. Sean, let's now move to questions, both from our industry
          analysts and from our shareholders. 248


  570. On March 1st, 2023 at 8:51 pm, Eddie Gladbach drafted an email to Sean Goodman, and
      cc d Aron, Keven Connor and John Meniwether with the subject title RE: Tracking the Vote
      stating,


                         Updated preliminary voting results as of noon today
                        are attached and summarized below:
                        Shares Voted:
                        AMC 104.2 million out of 517,580,416 (20.1%)
                        APE 459.6 million out of 929,849,612 (49.43%)
                        Percentage Voting For Proposals:
                        AMC 75.6%
                        APE 94.5%
                        Combined 91.0%

                        Eddie 249


  571. On March 2nd, 2023, the Franchi, Munoz and ACER actions were consolidated, the Franci
      and Munoz complaint was designated the operative complaint, and ACER, Franchi, and Munoz
      were jointly appointed as Lead Plaintiffs. The operative complaint was assigned with the
      following case number 2023-0215-MTZ. The law firms at Bernstein Litowitz Berger &
      Grossmann LLP, Fields Kupka & Shukurov LLP, and Grant & Eisenhofer P.A. were
      appointed Lead Counsel.


  572. While the operative complaint extolled the virtue of retail stockholders as unlikely
      hero[es] . . . banding together and buying massive amounts of AMC stock, beginning in
      January 2021 only Munoz fit that description.


                              Table: Lead Plaintiffs Share Ownership
                                        Common Shares APE Units
                                 Munoz 53,787 3,065
                                 ACER 879 879

  248 AMC Entertainment Holdings, Inc. (AMC) CEO Adam Aron on Q4 2022 Results - Earnings Call
  Transcript. Seeking Alpha. Posted on Feb. 28, 2023. https://seekingalpha.co /article/4583134-amc-
  entertainment-holdin s-inc-amc-q4-2022-earnin s-call-transcript Accessed on May 11, 2023

  249 Link: https://www.docketalarm.com cases Delaware State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS_INC._STOCKHOLDER_LITIGATION/918026
  42/ Exhibit 37 page 925
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                                    1729


                                Franchi        32                0

  573. Franchi, Munoz and ACER faced very different risks:


           • Munoz would suffer enormous losses if the APEs converted: according
              to the discovery documents, he appears to have exchanged most of his
              APE dividend into common shares and purchased more common stock
              on margin.
           • Franchi purchased his handful of common shares in November 2022,
               after AMC created the APEs, despite having swo that he owned
               shares at the time of the wrongs complained of in his complaint.
           • ACER never purchased shares alongside the unlikely hero[es] : It
               sold most of its stake to retail holders during the short squeeze. Also
               ACER’S ownership documentation had discrepancies that were not
               fully vetted by the Court. The documentation that ACER submitted lists
               the name of another entity - not ACER - owning the shares. ACER did
               not disclose this relationship on their affidavit, which calls into
               question whether ACER actually owned any shares during the relevant
              period.


  574. Also on March 2nd, 2023, the parties in the Franchi, Munoz and ACER matter submitted,
     and the Court entered, the Scheduling Order governing discovery in this action, culminating in
     a preliminary injunction hearing on April 27th, 2023.


  575. On March 2nd, 2023, Kenny Gallagher, attorney for the AMC Defendants, effectuated
     service on Lead Counsel for ACER, Franchi and Munoz with AMC Defendants’ First Request
     for Production of Documents by File & Serve Xpress in the consolidated action No. 2023-
     0215-MTZ.


  576. On March 2nd, 2023 at 1:57 pm, Eddie Gladbach drafted an email to Sean Goodman, and
     cc’d Aron, Keven Connor and John Merriwether with the subject title RE: Tracking the
     Vote stating,


                         Updated preliminary voting results are attached and
                        summarized below:
                        Shares Voted:
                        AMC 106.0 million out of 517,580,416 (20.5%)
                        APE 462.3 illion out of 929,849,612 (49.7%)
                        Percentage Voting “For Proposals:
                        AMC 75.2%
                        APE 94.4%
                        Combined 90.8%
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                                    1730




                        Eddie 250



  577. On March 3rd, 2023 at 1:03 pm EST, Aron continued to advocate for the Yes vote by
     tweeting out,


                World leader in corporate governance and responsible investment advice,
            ISS, evaluates companies with a critical eye. Today, it recommended
            AMC/APE holders vote in favor of the 3 proposals at our March 14 meeting.
            Your voting YES ( FOR ) is crucial for AMC to survive and thrive. 251



  578. On March 3rd, 2023 at 5:47 pm, Eddie Gladbach drafted an email to Sean Goodman, and
     cc d Aron, Keven Connor and John Merriwether with the subject title RE: Tracking the Vote
     stating,

                        “Updated preliminary voting results are attached and
                        summarized below:
                         Shares Voted:
                        AMC 111.5 million out of 517,580,416 (21.53%)
                        APE 473.7 million out of 929,849,612 (50.95%)
                        Percentage Voting “For Proposals:
                        AMC 75.3%
                        APE 94.3%
                        Combined 90.7%

                        Eddie” 252



  579. On March 3rd, 2023 at 7 pm EST, Aron held a meet-and-greet event at AMC Livonia 20 in
     Livonia, Michigan for a special screening of CREED III. That evening, Aron addressed the
     AMC stockholders that were sitting in the crowd, stating in part:



  250Link:https://www.docketalarm.com/cases/Delaware State Court of_Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC . STOCKHOLDER LITIGATIQN/918026
  42/ Exhibit 37 page 924
  251 CEO Adam Aron on X (formerly called twitter). March 3rd, 2023. X.com
     Link: https://twitter.eom/CEOAdam status/l 631716847513944064
  252 Link: https://www.docketalarm.com/cases/Delaware State Court of_Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 37 page 924
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            Between September of 2020 and June 2021 we raised 2.2 billion dollars by
           selling stock to the public - it's called equity - and we put that 2.2 billion dollars
           in the bank and we didn't do anything with it other than support our movie theater
           company except I spent 28 million dollars to buy a quarter of goldmine which
           people think I'm nuts but we're gonna make so much money from that
           investment of that oldmine. Fundamentally we will quadruple our investment
           in that gold mine it's going to take two to four years to do it but I've said it
           publicly he who laughs last, laughs best and there's gonna be a lot of crow eating
           coming two three four years from now and I'm not going to be the one eating the
           damn crow. 253


  580. On March 6th, 2023 at 1:48 pm, Eddie Gladbach drafted an email to Sean Goodman, and
      cc d Aron, Keven Connor and John Memwether with the subject title RE: Tracking the
      Vote stating,
                        If you got my prior email, please disregard. It did not
                       reflect updated support percentages.
                       Updated preliminary voting results are attached and
                       summarized below:
                       Shares Voted:
                       AMC 118.24 million out of 517,580,416 (22.9%)
                       APE 482.04 million out of 929,849,612 (51.8%)
                       Percentage Voting For Proposals:
                       AMC 75.2%
                       APE 94.1%
                       Combined 90.4%

                       Eddie 254



  581. On March 7th , 2023 at 3:06 pm, Eddie Gladbach drafted an email to Sean Goodman, and
     cc d Aron, Keven Connor and John Merriwether with the subject title “RE: Tracking the Vote
     stating,




  253 Aron in Livonia, Michigan (AMC Livonia 20). Youtube Video of Aron s March 3rd, 2023 Meet and
  Greet in Livonia. See the 19:42 mark in the video for this quote. Link:
  https://www. youtube.com/watch?v=fc469vsQt0A&t=394s
  254 Link: https.7/www.docketalarm.com/cases/Delaware_State_Court_of_Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHQLDER_LITIGATION/918026
  42/ Exhibit 37 page 923
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                                    1732


                         Updated preliminary voting results are attached and
                       summarized below:
                        Shares Voted:
                       AMC 133.3 million out of 517,580,416 (25.8%)
                       APE 505.5 million out of 929,849,612 (54.4%)
                       Percentage Voting For Proposals:
                       AMC 74.3%
                       APE 93.53%
                       Combined 89.5%

                       Eddie 255



  582. Later that evening at 6:26 pm EST, Aron tweeted out to AMC stockholders stating,


           “Many of you, and we, are aware that AMC Entertainment has been on “The
           Threshold List for 3+ weeks, indicating a number of FTD s. Some of you may
           be pleased to learn that we have contacted both FINRA and the NYSE asking
           that they both look closely at the trading of our stock. 256


  583. Following Aron s tweet, AMC retail investors tweeted back at Aron stating,


                    Pandering to your base again? Let s see the letter.


                    Gee @CEOAdam
                    we’re just surprised that you noticed.


                    So does that mean that you’ve stopped lying about the existence of
                     naked shorts and the existence of synthetic AMC shares? Do you
                    have any connection with #FTX tokenized AMC shares or knowledge
                    of these prior to FTX’s collapse? #VotedNo


                    ©CEOAdam, your action is too late.
                    You, as CEO, should have acted on the 14th day on the threshold list
                    instead of visiting the cinema. Do you have no sense of urgency?



  255 Link: https://www.docketalarm.com/cases/Delaware State Court of Chancerv/2023-
  0215/1N RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 37 page 923
  256 CEO Adam Aron on X (formerly called twitter). March 7th, 2023. X.com
     Link: https://twitter.com/CEOAdam/status/1633247675867971585
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 68 of 92 PageID #:
                                    1733




                    You only said this to get more yes votes, when was the last time you
                    bought any $AMC or $APE shares? I ll wait.



  584. On March 8th, 2023 at 1:37 pm, Eddie Gladbach drafted an email to Sean Goodman, and
      cc d Aron, Keven Connor and John Merriwether with the subject title RE: Tracking the Vote
      stating,
                        Updated preliminary voting results are attached and
                       summarized below:
                       Shares Voted:
                       AMC 135.7 million out of 517,580,416 (26.2%)
                       APE 511.2 million out of 929,849,612 (54.9%)
                       Percentage Voting For Proposals:
                       AMC 74.1%
                       APE 93.4%
                       Combined 89.4%

                       Eddie” 257



  585. On March 9th, 2023 at 1:33 pm, Eddie Gladbach drafted an email to Sean Goodman, and
     cc’d Aron, Keven Connor and John Merriwether with the subject title RE: Tracking the Vote
     stating,


                       “Updated preliminary voting results are attached and
                       summarized below:
                       Shares Voted:
                       AMC 143.9 million out of 517,580,416 (27.8%)
                       APE 516.4 million out of 929,849,612 (55.5%)
                       Percentage Voting “For Proposals:
                       AMC 73.7%
                       APE 93.0%
                       Combined 88.8%
                       As I told Adam earlier, Vanguard has not submitted
                       their vote yet. Also, the slip in percentage from
                       yesterday is primarily due to a block of votes (1.8



  257 Link: https://www.docketalarm.com/cases/Delaware State Court of _Chancerv/2023-
  0215/IN_RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 37 page 922
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                                    1734


                       million AMC and 1.4 million APE) from Morgan
                       Stanley that Abstained

                       Eddie 258



  586. On March 10th, 2023 at 2:36 pm, Eddie Gladbach drafted an email to Sean Goodman, and
     cc d Aron, Keven Connor and John Merriwether with the subject title “RE: Tracking the Vote
     stating,
                       “Updated preliminary voting results are attached and
                       summarized below:
                       Shares Voted:
                       AMC 157.5 million out of 517,580,416 (30.4%)
                       APE 554.9 million out of 929,849,612 (59.6%)
                       Percentage Voting For Proposals:
                       AMC 72.6%
                       APE 91.8%
                       Combined 87.5%
                       While still overwhelming in favor, the late vote is
                       coming in at a lower favorable rate that the earlier vote.
                       It still does not appear that Vanguard has voted based
                       on DF King s review of results.


                       Eddie 259



  587. On March 10th, 2023, Kenny Gallagher, atto ey for the AMC Defendants, effectuated
     service on Lead Counsel for ACER, Franchi and Munoz with AMC Defendants Objections
     and Responses to Plaintiffs’ First Request for Production of Documents by File & Serve Xpress
     in the consolidated action No. 2023-0215-MTZ.


  588. On March 13th, 2023, the AMC Defendants filed a placeholder for a possible motion to
     dismiss, in the consolidated action No. 2023-0215-, with prejudice pursuant to Court of
     Chancery Rule 12(b)(6).



  258 Link: htt s://www.docketalarm.com/cases/Delaware State_Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STQCKHOLDER LITIGATION/918026
  42/ Exhibit 37 page 922
  259 Link: https://www.docketalarm.com/cases/Delaware_State Court of Chancery/2023-
  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATION/918026
  42/ Exhibit 37 page 921
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  589. On March 13th, 2023 at 5:47 pm, Eddie Gladbach drafted an email to Sean Goodman, and
     cc d Aron, Keven Connor and John Memwether with the subject title RE: Tracking the Vote
     and incorporating an image named imageOOl.png and an excel sheet named Special Meeting
     - Preliminary Vote 3-13-23.xlsx, and stating,


                        Updated preliminary voting results are attached and
                       summarized below.
                       Broadridge s issue reporting systems have been down
                       today for all companies, but Broadridge has confirmed
                       that it has not affected their ability to analyze the data to
                       determine how specific institutional holders voted.
                       Based on the volume of votes received and the results,
                      we think it appears Vanguard voted in favor, but cannot
                       confirm.
                       Shares Voted:
                      AMC 177.7 million out of 517,580,416 (34.3%)
                      APE 577.3 million out of 929,849,612 (62.1%)
                       Percentage Voting “For Proposals:
                      AMC 72.8%
                      APE 91.2%
                      Combined 86.9%
                      Based on where we are now, it does not appear likely
                      that we will achieve the majority of outstanding
                      necessary to approve the proposals without using the
                      APE proportional voting mechanism. Flowever, with
                      the APE proportional votes, the proposals will pass with
                      about 67% of outstanding approving.

                      Eddie 260



                          Manipulated March 14th 2023 Corporate Vote


  590. On March 14th, 2023, AMC convened the Special Meeting, to vote on the proposed reverse
     split and conversion of AMC and APE. At the time, there were 517,580,416 eligible shares of
     AMC s Company s Class A common stock and 929,849,612 eligible AMC Preferred Equity
     Units were available to vote.



  260 Link: https://www.docketalarm.com/cases/Delaware_State_Court_of_Chancery/2023-
  0215/IN_RE AMC ENTERTAINMENT HOLDINGS INC. STOCKHOLDER LITIGATIQN 918026
  42/ Exhibit 37 page 921
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  591. On March 14th, 2023, the Certificate Amendments passed at the Special Meeting.
      Without the mirrored voting and the Antara Transaction, the proposals would not have
      passed a fact acknowled ed by AMC internally. 261


  592. Yet somehow, following the corporate vote at 1:23 pm EST, Aron memorialized the
      following tweet to AMC shareholders containing a misrepresentation that the vote was a
      landslide.


               Today was a huge step forward for AMC. You voted YES, YES &
              YES! And it was a landslide vote too 88% yes for Proposal 1, 87%
              yes for Proposal 2, and 87% yes for Proposal 3. My sincerest thanks for
              giving AMC the tools we need to continue fighting the good fight on your
              behalf. Saving AMC is my professional mission. And remember that I own
              millions of AMC shares and APE units too. So, I very much want for AMC
              to succeed. I am absolutely and passionately convinced that what you
              approved today is in the best interests of AMC and of all our shareholders.
              So what happens now? We can not implement what you approved today
              until the litigation in Delaware courts is resolved. The next Court hearing
              on this matter is set for April 27, 2023. We will update stockholders when
              we have additional information. 262



                                            Vote Analysis

  593. Based on AMC corporate s calculations, the votes for both AMC shares and APE units
      were combined to determine the final results.


  594. Regarding the reverse split proposal vote AMC reported that out of approximately 929.8
      million APE shares, 842,782,544 voted in favor, 80,570,613 voted against, and 6,695,864
      abstained.


  595. In the case of AMC shares, 128,344,709 voted in favor of the reverse split proposal, while
      51,388,638 voted against, and 2,609,383 abstained. The majority of AMC shares were not
      recorded as havin voted for this vote.


  596. According to the reported results, every APE unit was voted and recorded, because
     approximately 63% of the APE share votes were voted and recorded on time, and AMC


  261 Plaintiffs brief on case 2023-0215-MTZ. Page 27. Referencing discovery doc - AMC_00049559.
  262 CEO Adam Aron on X (formerly called twitter). March 14th, 2023. X.com
     Link: https://twitter.coni/CEOAdam/status/1635693064449667089
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 72 of 92 PageID #:
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     corporate instructed Computer Share to vote in favor of the proposals, the remaining
     percentage (37%) who did not vote on time.


  597. All of the following steps were needed in order for AMC to unlawfully procure their
     desired outcome for the March 14th, 2023 vote:


               • Combine the total Yes votes for AMC, APE, the APE votes they
                   sold to Antara (in violation of NYSE Section)
               • The transfer agent mirrored Yes votes
               • Violating DCGL Section 242 forcing both the AMC and APE votes
                   to be held together instead of separately


  598. An audit of the stockholder vote would have allowed for an investigation of the raw voting
     data, the vote totals, and would have allowed stockholders to validate that their votes were
     recorded correctly. Many shareholders reported not receiving the correct number of votes, and
     there were statistical oddities in the reported results.


  599. Following the March 14th, 2023, AMC Stockholder Vote, Jordan Af holter submitted a

     request for the raw data regarding the vote from AMC s Investor Relations on three separate

     occasions: April 12th, 2023, April 20th, 2023, and May 9th, 2023. Jordan Affholter has yet to

     receive any response to his inquiries.



  600. The absence of a response from AMC Investor Relations to Jordan Affholter's repeated

     requests for raw voting data following the March 14th, 2023, AMC Stockholder Vote raises

     concerns about AMC's transparency and its regard for its stockholders.



  601. On March 14th, 2023, Judge Zum entered a stipulation and order for the production and
     exchange of confidential and highly confidential infon ation in the consolidated action No.
     2023-0215-MTZ

  602. On March 21st, 2023, Lead Counsel for ACER, Franchi and Munoz effectuated service on
     the following third party, Broadridge Financial Solutions, Inc., a proxy voting tabulator, with
     a subpoenas duces tecum and ad testificandum.


  603. On March 22nd, 2023, the AMC Defendants in the consolidated action No. 2023-0215-
     MTZ, noticed the Lead Plaintiffs, ACER, Franchi and Munoz, for depositions:
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                        Usbaldo Munoz March 31, 2023, at 10:00 a.m. ET
                        Anthony Franchi April 3, 2023, at 10:00 a.m. ET
                        Allegheny County Employees Retirement System (by a
                        Rule 30(b)(6) desi nee) April 4, 2023, at 10:00 a.m. ET

  604. On March 23rd, 2023, Citigroup's analyst Jason Bazinet once again issued a sell rating on
      AMC with a price target of $ 1.60 . 263


  605. On March 24th, 2023 at 11:36 am, Aron tweeted out to AMC retail investors stating,


                Many Twitter reports to me indicating 9.3 trillion APEs are outstanding or
               we have a $409 billion market cap. Clearly both WRONG. Either a data
               service inexcusably is in error or someone criminally photoshopped bogus
               numbers. To the extent possible, we ll aggressively chase this. 264


  606. Following Aron’s March 24th, 2023 tweet, AMC stockholders responded mocking Aron’s
      tweet,


               So what are you going to do about it? Where is a copy of a letter or filing?


               This is what you will go after. Only this ? What about the last two years. Open
               your eyes!


               Any updates on what your legal team found after looking into photoshop
               crime? When they are done, maybe, you could look into the possibility that
               there are in fact bad actors creating synthetic shares.


               Stop trying to protect hedgefunds and protect retail who saved your company!


               How about aggressively cutting board salaries, suing market makers,and
               demanding SEC shut Dark Pools? We have you on video lying about Reverse
               Split intentions how about aggressively keeping your fiduciary Duties? How
               about FTX tokenized AMC shares? Greetings from Anguilla.


               Do tour fking job. We need a share count asap




  263 Source: https://investorplace.com/2023/03/amc-stock-price-predictions-will-amc-plunge-to-l-60/
  264 CEO Adam Aron on X (formerly called twitter). March 24th, 2023. X.com
    Link: https://twitter.com/CEOAdam/status/1639290079737704453
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 74 of 92 PageID #:
                                    1739



  607. Twenty-three minutes later, Aron retweeted his 11:36 am EST tweet stating,


              Market Watch currently showing 93.79 billion APEs outstanding. Clearly
            WRONG, wildly so. We are calling them now demanding this get corrected
            immediately. Also reviewing many other data sources to check for accuracy.
             So curse-word-here irresponsible that they publish false info. 265


  608. AMC retail stockholders immediately responded to Aron s 11:59 am EST tweet stating,


            This is NOT misreporting, this is MARKET CORRUPTION. This is why we
             have asked for a share count! @CEOAdam Would love to see #AMC expose
             the market manipulation, including the main stream media such as
             @CGasparino constantly taking daily shots at #AMC We are MAD! We are
            not leaving, we know you know!

             If only it was that easy, how are you to contact ALL stockholders and ask
            them to register. Just doesn't work that way. Falls back on "Computershare"
            who is the actual register for #AMC. They are 100% responsible they have a
            contract with #AMC filed with the #SEC. Someone needs to be held
            accountable and stop claiming "in the street shares" which are not actually
            counted since the Brokers "over sell repeatedly" "rinse repeat" #nakedshort
            options and stocks for their own benefit and income. It's called STEALING!
            #AMC #APE
             @DOJCrimDiv
             @SECEnfDirector
             @NYSE

            This issue isn t a new issue with $AMC & $APE. It’s a fact that retail
            shareholders collectively own an amount of shares in each, which far exceeds
            the # of shares or units issued by @AMCTheatres. That is what we’ve been
            saying for years, and nothing has been done about it. #AMC

             AA don’t you mean INVESTIGATED???? So multiple outlets are reporting
            the same computer glitch and you think it needs to be corrected ? Did you
            just admit to being privy to the manipulation? Because reports like this should
            be investigated not covered up.


  609. On March 25th, 2023 the parties in the Franchi, Munoz, and ACER matter asked former
     Vice Chancellor Joseph R. Slights, III, to provide facilitation and mediation services in
     connection with settlement discussions that the parties anticipated would likely require both


  265 CEO Adam Aron on X (formerly called twitter). March 24th, 2023. X.com
    Link: https://twitter.com/CEOAdam/status/1639295950580600835
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 75 of 92 PageID #:
                                    1740


      lifting of the status quo order and performance of Defendants in the Franchi, Munoz, and
      ACER potential obligations to the Common Stockholders at the earliest possible dates.


  610. On March 26,h, 2023, Daniel Meyer, one of the Lead Counsel in the consolidated action
      No. 2023-0215-MTZ, gave notice, that pursuant to Delaware Chancery Court Rules 26, 30 and
      45, ACER, Munoz, and Franchi will take the depositions of the following defendants in the
      matter:
                     Sean Goodman on March 30th, 2023 at 9:30 am EST and remotely
                    John Memwether on March 31st, 2023 at 8:30 am EST and remotely
                     Kathy Pawlus on April 4th, 2023 at 9:30 am EST and remotely
                    Adam Aron on April 6th, 2023 at 8:00 am EST and remotely



  611. On March 28th, 2023 the parties in the Franchi, Munoz and ACER matter participated in a
      formal mediation session, with extensive follow-up negotiations over the next several days.


  612. By the end of March of 2023, approximately four letters (two supporting, two opposing
      conversion reverse split) from purported AMC stockholders were filed on the consolidated
      action No. 2023-0215-MTZ docket. Frank lacono made an application to intervene, and Judge
     Zurn responded to AMC shareholders by publishing a letter on March 28th, 2023, addressing
     conce s raised through emails sent to the judicial officer s email. Judge Zurn’s letter states in
     part,


              This letter provides instructions for individuals interested in sharing their views
             on the above-captioned matter with the Court. Please note that a judicial officer’s
             email is not the proper channel for an interested party to contact the Court. Any
             comments or concems for the Court must be in letter format, contain the author’s
             relevant contact infonnation, include a check or money order made payable to
              Register in Chancery to cover the scanning fee of $2.00 per page for any
             documents to be filed onto the case docket, and should be sent to the following
             address:
                        Register in Chancery Leonard L. Williams Justice Center
                        500 North King Street, Suite 11600
                        Wilmington, DE 19801

             You may also contact the Register in Chancery (the clerk’s office for the


                Court of Chancery) at (302) 255-0544 with any additional questions. 266


  266 D.I. 49 for case No. 2023-0215-MTZ. Link:
  https://www.docketalarm.com/cases/Delaware State_Court of Chancery/2023-
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 76 of 92 PageID #:
                                    1741


  613. On April 2nd, 2023, following adversarial and arms -length negotiations, the parties in the
      Franchi, Munoz, and ACER matter executed a term sheet documenting the proposed
      Settlement.


  614. At the time the parties, in the consolidated action No. 2023-0215-MTZ, entered into the
      proposed Settlement, ACER, Franchi and Munoz were rapidly preparing to take six fact
      depositions and defend three depositions, in an eight-day span, with a fact discovery deadline
      of April 6th, 2023 .267


  615. ACER, Franchi and Munoz also retained and worked closely with multiple experts on key
      issues in the case and expected to provide reports and testimony from Loop, a financial
      consulting expert, and Okapi, a proxy solicitor. Loop provided expert advice on financial
      aspects pertaining to the consolidated action No. 2023-0215-MTZ, including the impact of the
      Certificate Amendments, AMC s debt, and the valuation of the proposed settlement. Okapi
      provided expert advice on, inter alia, proxy solicitation, the unique issues for a company
      soliciting votes with a large retail base, non-routine voting, proportional and mirror voting, and
      the effect of the Antara Transaction on the vote on the Certificate Amendments. 268


  616. “Discovery commenced immediately pursuant to the Scheduling Order. After extensive
      negotiations over the scope of discovery, the AMC Defendants in the consolidated action No.
      2023-0215-MTZ, ultimately produced, and Franchi, Munoz and ACER reviewed over 56,000
      pages of documents. Franchi, Munoz and ACER also served subpoenas on four third parties:
      Citigroup (AMC s financial advisor); D.F. King (AMC’s proxy advisor); Antara; and
      Broadridge (a proxy voting tabulator). Franchi, Munoz and ACER also engaged in extensive
      negotiations with the third parties over the scope of production, resulting in production of 2,500
      pages of documents when the term sheet was signed. The AMC Defendants served requests
      for production on Franchi, Munoz and ACER who collected and produced over 3,700 pages
      of documents. 269


  617. On February 28th, 2023, Aron made the following representation to AMC shareholders
      during AMC’s earnings call:




  0215/IN RE AMC ENTERTAINMENT HOLDINGS INC._STOCKHOLDER LITIGATION/914004
  33/

  267 D.I. 206 for case No. 2023-0215-MTZ page 36
  268 D.I. 206 for case No. 2023-0215-MTZ pa e 37
  269 D.I. 206 for case No. 2023-0215-MTZ page 65
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                                    1742


                    We believe such litigation is without merit, that our actions have been
                   totally lawful and consistent with our charter, and we will vigorously
                   defend our position in this matter. 270


  618. Aron's representation to AMC stockholders on February 28th, 2023, asserting the belief that
      the consolidated action No. 2023-0215-MTZ was without merit and his intention to vigorously
      defend the position, contrasts with the subsequent premature settlement, within less than 35
      days.


  619. The settlement occurred without Aron or any AMC Board member being deposed,
      raisin questions about the consistency of Aron s representations and actions. This
      deviation from the initial stance raises concerns about the level of commitment to defending
      the matter as previously communicated to shareholders.


  620. On April 2nd, 2023 at 2:06 pm EST, Aron updated AMC stockholders via Twitter regarding
      his March 24th, 2023 tweet, stating


                 Update 1 week later on the incorrect posts of our market cap and # of AMC
              shares and APE units. Sheer x %! l (7 letters, rhymes with ducking)
              incompetence at irresponsible data services. After much prodding by us, main
              source now fixed, may take a week to roll through the rest. 271


  621. Once again AMC retail investors took to Twitter to call out Aron s April 2nd, 2023 tweet
      stating,


              I believe that was the correct data and you had them change it back to the
              fake data.


                 I don t trust you Adam! You are a liar!


              So what you’re saying is there isn’t any manipulation or naked shorting
              correct? We beg to differ.




  270 AMC Entertainment Holdings, Inc. (AMC) CEO Adam Aron on Q4 2022 Results - Earnings Call
  Transcript. Seeking Alpha. Posted on Feb. 28, 2023 https://seekingalpha.com/article/4583134-amc-
  entertainment-holdings-inc-amc-q4-2022-eamings-call-transcript Accessed on May 11,2023

  271 CEO Adam Aron on X (formerly called twitter). March 24lh, 2023. X.com
    Link: https://twitter.com/CEOAdam/status/1639295950580600835
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 78 of 92 PageID #:
                                    1743



           Now that the legal team won t be tied up going after photoshop crime, maybe
           they could look into this.


           Way to stick up for your hedge fund buddies. Get that real market cap posted
           to the suppressed one by you and your buddies. No one believes it was a
           glitch but obviously you will try to convince us it was, you are such a fraud!


           What ever happened to the FTD?? You know, the synthetics you claim don't
            exist. When are you going to call out the spoofing done almost everyday by
           you buddies the hedges. When are you going to quit. Cause you know. You've
            lost all confidence from you share holder's.


            Hey Adam, how is it that your stock went from 72-73 down to 5 bucks? We
            know what happened and what you've been doing Adam. Such a shame. Keep
            blowing smoke up our asses


  622. On April 3rd, AMC filed a Form 8-K announcing the parties, to the consolidated action No.
     2023-0215-MTZ, reached a proposed settlement.


  623. Also on April 3rd, 2023, Gregory Varallo, Lead Counsel for Franchi, Munoz, and ACER,
     filed an unopposed motion to lift the Status Quo Order, focusing on Franchi, Munoz, and
     ACER S insistence that if the Status Quo Order was lifted the Class should receive its
     Settlement Consideration as promptly thereafter as possible.


  624. Incorporated into the filing of Franchi, Munoz, and ACER’S motion to lift the Status Quo
     Order was Managing Director with Loop Capital Financial Consulting Services Patrick
     Ripley’s affidavit, which testifies to the calculations used to detennine the value of the
     proposed share issuances to the Common Stockholders based on


              (i) 519,192,390 issued and outstanding shares of common stock of AMC,
             (ii) 974,190,794 issued and outstanding AMC Preferred Equity
             Units ( APEs ), and
             (iii) the closing prices of Common Stock and APEs on each of
             March 27, March 28, March 29, March 30, and March 31, 2023.

         Mr. Ripley’s assumptions for these analyses include that AMC Common Stockholders will
     receive an issuance based on the 1:7.5 ratio.


  625. On April 5th, 2023, Judge Zum denied Franchi, Munoz, and ACER’S motion to lift the
     Status Quo Order, noting the absence of support for immediate performance of the Settlement’s
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                                    1744


        core exchange of benefits. The parties offered no good cause to lift the Status Quo Order.
        While Franchi, Munoz, and ACER acknowledge that the parties agree that the stipulated
        Status Quo Order should be lifted, and suggest that the proposed settlement is contingent on
        lifting the stipulated status quo order, such agreement does not rise to good cause in view of
        Chanceiy Court s Rule 23 obligations.


  626. Judge Zum continues, that it is well settled that the Court of Chancery s role in approving
        class action settlements under Court of Chancery Rule 23 is intended to balance policies
        favoring settlement with concerns for due process and arises “from the fiduciary nature
        of representative actions, particularly “the need to assure th t the interests of absent
        class members or stockholders have been fairly represented, and the necessity of
         uarding against the ever-present potential for surreptitious buyouts of representative
        plaintiffs at the expense of those whom they purport to represent. 272


  627. On April 5th, 2023, AMC Shareholder Diego Vega’s March 31st, 2023 letter, addressed to
        Judge Zurn, was published on the consolidated action No. 2023-0215-MTZ docket. Diego
        Vega’s letter highlights several key points:


             • The AMC Board is imposing significant dilution, amounting to billions of
                 shares, on stockholders without obtaining their consent through a vote
             • The lack of majority approval on the Reverse Stock (RS) vote
             • The questionable mirrored voting clause
             • and combining votes of separate voting classes breaches DGCL 242(b)(2),
                 raising legal concems regarding the integrity of the voting process 273
             • In addition, Diego Vega's letter references a recent ruling by Judge Zum in
                 Case No. 2022-0132-MTZ, Garfield vs. Boxed, Inc., highlighting potential
                 parallels or precedents relevant to the current situation

  628. On April 13th, 2023, Brian Tuttle’s April 7th, 2023 letter, addressed to Judge Zurn, was
        published on the consolidated action No. 2023-0215-MTZ docket. Brian Tuttle’s letter
        highlights several key points:

           • He had been in contact with Lead Counsel Michael Barry, now representing
              ACER, about filing a potential grievance against AMC regarding the APE
               issuance
           • On February 16th, 2023, he emailed Aron, giving him notice that the proposals
              for the upcoming Reverse Split/Conversion vote violated DGCL 242


  272 D.I. 69 for Case 2023-0215-MTZ. Link:
  https://www.docketalarm.com/cases/Delaware_State_Court_of_Chancery/2023-
  0215/IN_RE_AMC_ENTERTAINMENT_HOLDINGS_INC._STOCKHOLDER_LITIGATION/914650
  33/
  273 D.I. 67 for Case 2023-0215-MTZ
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          • On Februaiy 20th, 2023, he sent an email notice to the NYSE that AMC
                breached Rule 312 of the NYSE Company Manual by selling over 20% of the
             company s Voting Power, in a Private Sale, below the Minimum Price
             threshold set forth in section 312 of the NYSE Company Manual, without
             shareholder approval 274
          • On February 23rd, 2023, he sent a follow up email notice "infonning the NYSE
             AMC was also: in breach of NYSE American Company Guide Section 122
             due to the issuance of “Super Voting Stock" 275
          • On April 5th, 2023, he initiated a change.org petition for shareholders to
             petition to opt out of the proposed settlement. Throughout the case, that petition
             gained significant traction, accumulating over 7,000 signatures as of Februaiy
              6th, 2024
          • He also mentioned that Lead Counsel Michael Barry had “allegedly not
             represented him or the class appropriately on a complaint against Hycroft
             mining

  629. On April 14th, 2023, Gregory Varallo, Lead Counsel for ACER, Franchi and Munoz, filed
      a letter on the consolidated action No. 2023-0215-MTZ docket, and gave Judge Zurn notice
      that,


               We write to advise the Court that the Parties in the above-referenced action
              have reached a proposed settlement, subject to the Court s approval.
              Accordingly, the Parties respectfully request a status conference with the
              Court next week to discuss timing and notice for presentation of the proposed
              settlement. In light of the proposed settlement, the Parties also respectfully
              request that the Court adjourn the litigation deadlines in the Stipulation and
              Scheduling Order entered on March 2, 2023 (Transaction ID 69256893)
              pending the Court’s full review of and decision whether to approve the
              proposed settlement.

                                 We are available should Your Honor have any questions.
                                                        Sincerely,
                                                        /s/ Gregory V. Varallo 276



  630. Of note, ACER, Munoz and Franchi never briefed an injunction motion nor did the AMC
     Defendants brief their motion to dismiss. Additionally, there were no depositions conducted.


  631. Under the settlement, AMC agreed to distribute 6,922,565 shares of common stock to
     existing common stockholders, at a ratio of one share per every 7.5 shares held after a 10-to-l


  274 D.I. 87 for Case 2023-0215-MTZ
  275 D.I. 87 for Case 2023-0215-MTZ
  276 D.I. 92 for Case 2023-0215-MTZ
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      reverse split but before the conversion. ACER, Franchi and Munoz argued that this benefit
      was worth over $129 million, but its practical effect was marginal. Without the settlement, the
      class existing common stockholders would own 34.28% of AMC s equity after the
      conversion; with the settlement that percentage increased to 37.15%. For that bargain price,
      AMC s Board took the power stockholders had twice refused to give: the ability to repeatedly
      dilute common stockholders.


  632. Despite AMC being aware and in receipt of Jon Merriman s May 27" , 2022 emails and its
      attached prospectuses (Nasdaq stocks - OPGN, AVGR, AGRX all lost well over 50% of value
      post preferred share offering and reverse split at the time of the emails), on April 16th, 2023,
      Aron still had the audacity to tweet the following two tweets to AMC stockholders, who had
      huge concems about the reverse split, giving them notice that,


              Some misunderstand the 1-for-10 reverse stock split, approved by 87% of
             March 14 votes, saying we are “stealing 90% of your shares. You forget that
             the share price rises 10-fold at that time. EXACTLY the same as trading ten
             $1 bills for one $10 bill. Either way, you have $10. 277


              In your comments, some fear that after a RS, short pressure could cause
             price to go back down. But you neglect that it is EVERY bit as easy to
             short a stock priced at $3.00 as it is on a stock priced at $30. A RS itself
             has NOTHING to do with any subsequent prices afterwards. 278

  633. On April 17th, 2023, Jordan Affholter’s April 8th, 2023 letter, addressed to Judge Zum, was
      published on the consolidated action No. 2023-0215-MTZ docket. Jordan Affholter’s letter
      highlights several key points:

           • Individual shareholders own the vast majority of AMC stock, accounting for
               approximately 80-90% or more of the total ownership
           • The results of the Say Technologies Vote imply that there are a massive
               number of synthetic shares, potentially multiple times the float
                   While those numbers are not an official share count, that is more
                 than enough of a sample size to provide strong evidence that AMC
                 stock has been over-sold or over-shorted on the market multiple
                 times the share float. Right after seeing those numbers, as part of
                 their fiduciary responsibility to shareholders AMC leadership


  277 CEO Adam Aron on X (formerly called twitter). April 16th, 2023. X.com
    Link: https://twitter.com/CEOAdam/status/1647664901869936645
  278 CEO Adam Aron on X (formerly called twitter). April 16th, 2023. X.com
    Link: https://twitter.com/CEOAdam/status/1647673936107143170
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                   should have immediately started an investigation into the existing
                   shares in order to protect shareholder value. 279
             • Robinhood buying Say Technologies a day after the vote
             • APE not being a dividend but just more dilution
             • The irregularities and lack of validation surrounding the March 14th, 2023
                 AMC Reverse Split and Conversion vote.


  634. Jordan Affholter concluded his April 8th, 2023 letter by informing Judge Zum that,


              As a shareholder, I am requesting that there be a hold on any further reverse
             split for AMC and a hold on any merger for the AMC and APE shares until a
             transparent share count be conducted by a third party that allows individual
             shareholders to validate the shares they own. 280


  635. On April 21st, 2023, Judge Zum published her letter on the docket pertaining to
        consolidated action No. 2023-0215-MTZ, giving the party attorneys and interested parties
        notice that a teleconference call regarding settlement scheduling and logistics in this matter is
        confirmed for Tuesday, April 25th, 2023, beginning at 9:15 a.m.


  636. On April 24th, 2023, Jordan Affholter s April 18th, 2023 motion to intervene and letter
        addressed to Judge Zurn was published on the court docket pertaining to consolidated action
        No. 2023-0215-MTZ. The letter reads in part,


                      As a shareholder, I have requested the raw data to the March 14, 2023
             shareholder call votes, but have not received any response back from AMC
             corporate. As I mentioned in my first letter, AMC is a unique stock where
             individual shareholders (retail) own the vast majority of the outstanding shares.
             According to Fintel data, Allegheny owns under 1% of AMC common stock
             shares. I do not believe the proposal by AMC and Allegheny is in the best
             interest of the majority of AMC shareholders I am requesting that there be
             a hold on any further reverse split for AMC, any merger for the AMC and APE
             shares, and any settlement on this case until the following actions are taken:




  279 D.I. 95 for Case 2023-0215-MTZ
  280 DI 95 for Case 2023-0215-MTZ. Link:
  https://www.docketalarm.com/cases/Delaware_State_Court_of_Chancery/2023-
  0215/IN_RE_AMC_ENTE TAINMENT_HOLDINGS_INC._STOCKHOLDER_LITIGATION/915599
  85/
Case 4:23-cv-00732-ALM-KPJ Document 104-2 Filed 08/23/24 Page 83 of 92 PageID #:
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                 -First, I am requesting the legality regarding the issuance of APE be
                  investigated (specifically in reference to NYSE rules: Section 312.03
                 and Delaware Law Section 242(b)(2)).
                 -Secondly, I am a requesting a transparent share count be conducted by
                 a third party that allows individual AMC and APE shareholders to
                 validate the shares they own in order to protect shareholder value.
                 -Thirdly, I am requesting that AMC and APE shareholders be given
                 access to review and validate the raw voting data from March 14, 2023
                 AMC share holder call to ensure their votes were counted fairly. 281



                             April 25th, 2023 Telephonic Conference Call

  637. On April 25th, 2023, Judge Zum conducted a telephonic conference call with Lead Counsel
        for ACER, Franchi and Munoz and AMC s Defense atto eys, to discuss and resolve the
        following outstanding agenda items:


                                  • Appointment of special master
                                  • Scheduling order
                                  • Logistics of settlement hearing
                                  • and stockholder notice



  638. A listen-only audio feed of this conference call was provided by CourtScribes, and was
        made available through the following public access lines:


                                     Public Line 1: (774) 267-3617
                                     Public Line 2: (617) 829-7274
                                     Public Line 3: (774) 267-7226
                                     Public Line 4: (774) 267-7876
                                     Public Line 5: (774) 267-7689

  639. The telephonic conference call lasted approximately fifty minutes.


  640. The final agenda item that Judge Zum addressed was whether notice by mail is required.




  281 D.I. 144 for Case 2023-0215-MTZ. Link:
  https:// ww.docketalarm.com/cases/Delaware_State_Court_of_Chancery/2023-
  0215/IN_RE_AMC_ENTERTAINMENT_HOLDINGS_INC._STOCKHOLDER_LITIGATION/916023
  09/
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  641. Judge Zum opened up the discussion citing precedence and stating that the Court is
     hesitant to forego notice by mail.


  642. Delaware Chancery Rule 23 and the 14th Amendment to the United States Constitution,
     The Due Process Clause, mandates that each stockholder be given notice with respect to the
     scheduled settlement hearing -


                 [ijn any class action maintained under paragraph (b)(3), the Court
                shall direct to the members of the class the best notice practicable
                under the circumstances, includin individual notice to all members
                who can be identified through reasonable effort.

  643. Subsequently, on behalf of the AMC Defendants, Defense Attorney John Neuwirth ( Mr.
     Neuwirth ) made the following representation to Judge Zurn stating in part:


               by our estimation the number of beneficial stockholders is approximately
               3.8 million   the cost of mailing to that many stockholders is
               approximately $2.9 million dollars Which is significant. 282


  644. Applying Mr. Neuwirth s numerical values, it would cost 76 cents per post card.


  645. Mr. Neuwirth then attempted to present his case, emphasizing the cost-effectiveness of
     electronic methods and addressing precedence in support of his argument.


  646. The telephonic conference call concluded without Judge Zum ruling on stockholder
     notice.



  647. Subsequent to the April 25th, 2023, telephonic conference call, Judge Zum executed an
     order appointing Corinne Elise Amato, Esq, ( Corinne Amato ) special master with the charge
     of reviewing any and all stockholder motions to intervene, as well as any oppositions and
     replies thereto, and making recommendations as to whether they should be granted. Corinne
     Amato shall be compensated for her time at her customary hourly rate of $800. At her
     discretion, Corinne Amato may make use of partners, counsel, associates, and support staff
     within her firm who may bill at their customary hourly rates. Corinne Amato also will be
     reimbursed for her expenses. ACER, Franchi and Munoz and the AMC Defendants will each
     bear half of the expenses up to $20,000. In her report regarding stockholder objections to the
     proposed settlement, Corinne Amato will make a specific recommendation regarding an
      allocation of responsibility for the expenses in excess of $20,000.




  282 D.I. 217 Transcript of 4-25-2023 Telephonic Status Conference for case 2023-0215-MTZ.
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  648. On April 26th, 2023, Corinne Amato accepted the appointment as the Special Master.


  649. On April 27th, 2023, Judge Zurn published her letter on the Court docket giving the parties
      in the consolidated action No. 2023-0215-MTZ matter notice that,


            Dear Counsel and Interested Parties:


           As I indicated at Tuesday's telephonic scheduling conference, this matter is in
           limbo pending the parties' filing of the settlement stipulation, proposed
           scheduling order, and proposed notice, which have been unusually delayed since
           the second proposed settlement was announced on April 14, 2023. Counsel
           represented on Tuesday that the documents would be filed on Tuesday or
           Wednesday of this week. Based on that representation, and to pennit
           consideration of the defendants request for an accelerated timeline for notice,
           briefing, objections, and the Special Master s report and recommendation on the
           objections, I offered June 29 and 30 as potential settlement hearing dates. The
           documents must be filed promptly to maximize this Court's ability to
           accommodate the defendants' request for an accelerated schedule. I also
           explained on Tuesday’s call that once the schedule and form of notice are
           finalized, the Court would provide AMC stockholders with specific instructions
           about when and how to respond to the settlement terms. I would have liked to
           provide those instructions by now.


           The settlement documents must be filed by the close of business today in order
           for the Court to continue to hold June 29 and 30 as potential hearing dates. If
           counsel does not file the settlement documents by close of business today, they
           should contact Chambers for new hearing dates.

                                                            Sincerely,
                                                           /s/ Morgan T. Zurn


                                                           Vice Chancellor 283


  650. On April 27th, 2023, the party atto eys in the consolidated action No. 2023-0215-MTZ
     complied with Judge Zum’s April 27th, 2023 instructions and filed the following documents
     on the Court docket:


                 • Stipulation and Agreement of Compromise, Settlement, and
                     Release



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                • [Proposed] Scheduling Order with respect to Notice and
                   Settlement Hearing
                • Notice of Pendency of Stockholder Class Action and Proposed
                   Settlement, Settlement Hearing, and Right to Appear
                • Summary Notice of Pendency of Stockholder Class Action and
                   Proposed Settlement, Settlement Hearing, and Right to Appear
                • [Proposed] Order and final judgment

  651. On April 27th, 2023, the party attorneys in the consolidated action No. 2023-0215-MTZ
     drafted and published the following letter to Judge Zum on the Court docket,

           Dear Vice Chancellor Zum:

          Enclosed with this letter are copies of the parties executed Stipulation and
          Agreement of Compromise, Settlement, and Release (the “Stipulation ),
          including the exhibits to the Stipulation. With respect to the questions regarding
          notice that Your Honor raised during the April 25, 2023 teleconference with the
          Court, mailing post cards (sic) with a sum ary notice to all approximately
          3.8 million beneficial holders of AMC common stock is estimated to cost
          approximately $1.7 million. Therefore, Defendants respectfully submit that
          mailed post card (sic) notice is impractical and unnecessary here given the
          high degree of class engagement, the multiple modern electronic methods
          of notice Defendants have proposed, and the high cost to the company of
          mailed notice. Plaintiffs remain in non-opposition if the Court agrees with the
          notice currently proposed in the Stipulation, but are not affirmatively joining
          Defendants in this request. Defendants respectfully submit that the following
          Court of Chancery precedents, which are attached, support the notice currently
          proposed in the Stipulation:

              • Rux v. Meyer, No. 11577-CB (Oct. 23, 2019) (Scheduling Order)
              (allowing Sirius XM to provide notice of a settlement to stockholders
              via a Form 8-K, its website, social media posts, and an earnings release
              when “a mailing would involve printing and mailing of an estimated
              340,000 notices at cost of several hundred thousand dollars (plus
              brokerage search costs) );
              • Franchi v. Barabe, No. 2020-0648-KSJM (May 3, 2022)
              (Scheduling Order) (allowing Selecta Biosciences to provide notice of
              a settlement to its stockholders via a Form 8-K, its website, and social
              media, where the cost of mailing notices to its stockholders would be
              roughly $30,000, which is meaningful to Selecta );
              • City of Monroe Emps. Ret. Sys. v. Murdoch, No. 2017-0833-AGB
              (Nov. 28, 2017) (Scheduling Order) ( given the significant amount of
              press attention the settlement received, the Court did not require a
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               mailing, instead allowing Twenty First Century Fox to provide notice
               via a Form 8-K, the company s website, and a summary notice in the
               Wall Street Jou al and over PR Newswire);
               • Kistenmacher v. Atchison et al., No. 10437-VCS (Mar. 12. 2020)
                (Scheduling Order) (permitting SeaWorld to provide notice via a Form
                8-K, the company s website, plaintiffs counsel’s websites, and in
                GlobeNewswire and Investors’ Business Daily); and
                • Lao v. Dalian Wanda Group Co., Ltd. et al., No. 2019-0303-JTL
                (Sept. 28, 2022) (Scheduling Order) (allowing AMC to provide
               supplemental notice via a Form 8-K, the company’s website, nd the
               company’s Twitter account after the initial notice was provided via
               those means and mailed to 11,514 AMC stockholders of record).


           If the Court disagrees with Defendants and believes that mailed post card notice
           is more appropriate, the parties respectfully request that the Court direct the
           parties to that effect when the Court enters the scheduling order filed with the
           Stipulation. The parties will of course proceed, however Your Honor would
           prefer, but Defendants do ask that their position on the cost versus benefit
           of the post card notice be considered. 284



  652. On April 28th, 2023, Judge Zum addressed the party atto eys' April 27th , 2023 letter in
      the consolidated action No. 2023-0215-MTZ. Judge Zurn’s letter provided instractions on how
      to correct and perfect the five documents submitted to the court docket on April 27th, 2023.
      Additionally, Judge Zura's letter responded to the party atto eys' objection related to the
     postcard notice, outlining specific points as part of the response.


          Second, I wish to address the defendants’ pending request to deliver notice to
         stockholders electronically and forego notice by mail. Consistent with that request,
         paragraph F( 10) on page 22 of the Stipulation and paragraph 11 of the Scheduling
         Order provide for dissemination of the notice through publication of a Form 8-K,
         posting on AMC Entertainment Holdings, Inc.’s ( AMC or the Company )
         website, transmittal over PR Newswire, posting on AMC’s Twitter account, and
         posting on the respective websites and social media accounts for the plaintiffs’ lead
         counsel (“Lead Counsel ). Certain of these means of delivery are reiterated in the
         Notice.


         Court of Chancery Rule 23 requires that [i]n any class action maintained under
         paragraph (b)(3), the Court shall direct to the members of the class the best notice
         practicable under the circumstances, including individual notice to all members


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        who can be identified through reasonable effort. It is standard practice in this
        Court to require dissemination of a settlement notice by mail, often supplemented
        by publication through various mediums. As the defendants point out, the Court
        has deviated from that practice at times, but that the defendants identified only a
        handful of examples over nearly fifteen years reflects such deviations are the
        exception and not the rule.

        The defendants have explained that due to the size of AMC s stockholder base,
        notice by even postcard mail would be particularly expensive. Beyond that, the
        parties have made no attempt to explain to the Court why or how they chose the
        particular suggested forms of notice, and why they are the best practicable under
        these novel, if not unique, circumstances. Nor have they offered any concrete
        reason why this settlement approval process must be truncated at the expense of
        stockholder notice.


        I am sympathetic to cost concerns, but the size of AMC s stockholder base cuts
        both ways. The operative complaint pleads that AMC welcomed a stockholder base
        that includes a significant number of retail investors, which is consistent with the
        letters the Court has received and reviewed to date. While at least some of these
        stockholders appear highly engaged, the operative complaint relies on the premise
        that a large portion of the Company s stockholders are passive and do not vote.
        This premise is inconsistent with the idea that posting a Form 8-K would give actual
        notice to those stockholders. To my mind, the large number of retail investors
        weighs in favor of notice by mail, rather than against it. The cost concern is less
        impactful when Lead Counsel has touted their belief that the give to stockholders
        in the settlement exceeds $100 million. I appreciate the cost of notice by mail here
        is higher than usual, but in my view, that burden accompanies selling large
        quantities of stock to retail investors.


                Postcard notice will require some adjustments to the schedule. If the parties
        wish to keep June 29 and 30 for the settlement hearing, I propose, and ask you to
        confer on, the following schedule:


                 • May 4, 2023: opening brief(s)
                 • May 31, 2023: objections to the plaintiffs’ counsel
                 • June 7, 2023: any reply brief(s)
                 • June 21, 2023: Special Master’s report
                 • June 28, 2023: exceptions to the Special Master’s report


        This schedule depends on prompt initiation of postcard notice, and will only work
        if postcards will generally be delivered by May 24, 2023. Acceptance of this
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          schedule constitutes a representation that postcards can be expected to be delivered
          by then. I have committed to delivering a written opinion on the settlement terms
          rather than a bench ruling t the hearing, so a June 28 deadline for exceptions should
          not meaningfully slow my ruling. Alternatively, we can move the hearing back. 285


  653. During the months of April and May 2023, dozens of AMC stockholders wrote to the court
      expressing their concerns about the manipulation of AMC stock and how a reverse split would
      further harm stockholders already affected by the actions of bad actors in the market and/or
      AMC leadership. These letters were filed on the consolidated action docket No. 2023-0215-
      MTZ. In addition, Objectors Brian Tuttle, Alex Mathew, and Jordan Affholter filed motions to
      intervene.


  654. On May 1st, 2023, at 2:51 pm EST, Aron tweeted out to AMC shareholders, giving them
     notice that,


              What the DUCK !!!!! I am getting multiple reports that Robinhood briefly
             posted today that AMC filed for bankruptcy. How can companies like
             Robinhood do this? So ludicrous, so wrong, so irresponsible. On Friday, we
             report QI earnings, and will announce our sizable cash position. 286


  655. Subsequently, at 4:36 pm EST, Aron tweeted out to AMC shareholders, giving them notice
     that,


              I am so Ducking angry about this. They are either incompetent or evil, and
             either is absolutely inexcusable. Obviously, there is no truth to their postings.
             Outrageous behavior. I have already asked our lawyers if we can sue the
             Dastards. #IncompetentEvil 287


  656. On May 1st, 2023, the Scheduling Order to Notice the Settlement Hearing (“Scheduling

      Order ) with respect to consolidated action docket No. 2023-0215-MTZ was entered making
      May 8th, 2023 the Notice Date.



  657. Pursuant to the Scheduling Order, no later than May 8th, 2023, the Notice Administrator,

      Strategic Claims Services, was mandated to mail a postcard notice to all record holders


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  286 CEO Adam Aron on X (formerly called twitter). May 1st, 2023. X.com
     Link: https://twitter.eom/CEOAdam/status/l 653109955107655680
  287 CEO Adam Aron on X (formerly called twitter). May 1st, 2023. X.com
     Link: https://twitter.com/CEOAdam/status/1653136268040241153
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     of AMC Common Stock and request that, within five (5) business days of such request,

     any record holders of AMC Common Stock ho are nominees or custodians for

     beneficial holders provide either physical addresses or email addresses for all such

     beneficial owners to which the postcard notice can be sent or request copies of the

     postcard notice from Strategic Claims Services to mail to such beneficial owners.



  658. On May 2nd, 2023, Jordan Affholter published his May 2nd, 2023 letter motion on the
     consolidated action No. 2023-0215-MTZ docket via the File and Serve application. The letter
     motion gave Judge Zurn notice that,


           I submit this letter to give this Court notice about the above referenced events
          and that this Court should take judicial notice and conduct a misrepresentation
          hearing and subsequently move for sanctions against the AMC Defendants and
          their attorneys pursuant to Rules of the Court of Chancery of the State of
          Delaware, Rule 11(b) - Representations to Court. On April 25th, 2023, during
          a telephonic conference call, atto ey for the AMC Defendants Mr. John
         Neuwirth made the following representation to the Court with respect to overall
          timing for a settlement hearing:


                 • It remains important for the company AMC to be in a position
                      to raise cash and to do it as soon as possible
                 • AMC s desire to continue to bolster cash reserves
                 • Because of the desire to raise cash whether fast schedule
                      could be truncated a bit - notice to the class going out at least
                     45 days before the hearing date instead of 60 days
                 • Notice be accomplished by electronic means (such as 8K and
                     AMC s website) and not by mailing
                 • There are an estimated 3.8 million AMC shareholders.

          Six days later, Defendant Adam Aron ( Defendant Aron ) publicly tweeted the
         below tweet in response to Robinhood, a commission-free stock trading and
          investing application, who briefly posted on May 1st, 2023, that AMC filed for
         bankruptcy.


            What the DUCK !!!!! I am getting multiple reports that Robinhood
            briefly posted today that AMC filed for bankruptcy. How can companies
            like Robinhood do this? So ludicrous, so wrong, so irresponsible. On
            Friday, we report QI earnings, and will announce our sizable cash
            position.
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                    In summation, Defendant Aron s public tweet cuts against Mr. Neuwirth s
              argument reflecting two conflicting representation (sic) in the span of six days.
              And thus, I am asking that this Court grant my application for a
              misrepresentation hearing in order to prevent fraud from being committed
              against the Court and AMC s shareholders. Additionally, I am requesting that
              Mr. Neuwirth clarify his claim regarding the estimated 3.8 million
              shareholders. Why is this number estimated? Shouldn t AMC be able to share
              the exact number? Are these shareholders unique individual people or total
              brokerage accounts holding AMC? Additionally, I am requesting that Mr.
              Neuwirth clarify his claim regarding the estimated 3.8 million shareholders by
              providing the raw data file containing the exact number of shareholders and
              shares held by each shareholder to the Court and AMC’s shareholders in order
              for the claim to be transparently verified. In light of the aforementioned reasons,
              I respectfully request that this Court either consider this letter as a motion, or
              alte atively, issue an order sua sponte, directly for the misrepresentation
              hearing and for AMC to share the raw shareholder data with the Court and
              AMC’s shareholders. 288


  659. On May 3rd, 2023, Lead Counsel, in the consolidated action No. 2023-0215-MTZ,
      submitted an opposition to Jordan Affholter's motion to intervene, which requested a share
      count and validation of the March 14th, 2023 stockholder vote. Despite claiming to represent
      the putative class members, Lead Counsel had not conducted an investigation into a transparent
      share count or validation of the March 14th, 2023 vote. Both of these actions had the potential
      to enjoin the AMC Defendants from effectuating the results of the March 14th, 2023 corporate
      vote.


  660. On May 3rd, 2023, Jordan Affholter also published his May 3rd, 2023 letter addressed to
     Judge Zum via the File and Serve application. This action provided notice to Judge Zum,
      Franchi, Munoz, and ACER’S attorneys, as well as AMC’s defense attorneys, regarding key
     typos in the stockholders notice letter about when letters are due for those who wish to attend
     the settlement hearing in person.289


  661. Subsequent to Mr. Affholter’s May 3rd, 2023 letter being published, a little over an hour
      later, Judge Zurn published an updated letter from the Court to stockholders, which corrected
     the “clerical error . “This letter superseded the Court’s May 1st, 2023 letter to stockholders
     and set the following timelines:


                       • Settlement Hearing set for June 29lh and 30th, 2023

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                    • The Chancery Court will not be issuing a ruling on the
                       settlement at the hearing, but will be issuing a written
                       decision at a later date
                    • Objections must be submitted to ACER, Franchi and
                       Munoz s counsel and must be received by May 31st, 2023,
                        by email to: AMCSettlementObjections@blbglaw.com
                        OR by mail to: AMC Investor Submissions c/o John
                        Mills, Esq. Bernstein Litowitz Berger & Grossman LLP
                        1251 Avenue of the Americas New York, NY 10020
                    • The plaintiffs and defendants may file briefs responding
                       to any or all objections by June 7, 2023
                    • Any objector wanting to make a court appearance at the
                       Settlement Hearing needs to fill out an in Person
                       Settlement Interest Form. The form must be completed
                        and mailed back to the Court by May 31st, 2023 at the
                        following address:

                              Register in Chancery Court of Chancery of
                              the State of Delaware New Castle County
                              Leonard L. Williams Justice Center 500
                              North King Street Wilmington, Delaware
                              19801

                    • Conine Amato will file a report and recommendations on
                       the objections no later than June 21, 2023
                    • Exceptions to the Corrine Amato s report should be filed
                       with the Court, not sent to the plaintiffs’ counsel.
                       Exceptions must be received and docketed by June 28,
                       2023 for the Court to consider them. For instructions on
                       how to submit exceptions, and the required filing fee,
                       please refer to the Register in Chancery’s April 14, 2023,
                       letter. Correspondence that does not comport with these
                       instructions will not be considered. 290



                Lead Plaintiffs and AMC Defendants File Their Settlement Briefs

  662. On May 4th, 2023, attorneys from both parties in the consolidated action No. 2023-0215-
     MTZ, complied with Judge Zum’s instractions by timely filing their briefs supporting the
     proposed settlement. Lead Counsel Daniel Meyer filed his transmittal affidavit, incorporating
     37 exhibits, spanning 928 pages, and placed them under seal. AMC’s defense attorney Kevin
     Gallagher filed his transmittal affidavit, incorporating 28 exhibits, spanning 731 pages, which
     was also initially filed under seal.


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